Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 1 of 164 PageID 7




                       Exhibit 1
Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 2 of 164 PageID 8
Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 3 of 164 PageID 9
Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 4 of 164 PageID 10
                                                 THE HONQRABLE
                                               GWEN MARSHALL
                               CLERK OF THE CIRCUIT COURT AND COMPTROLLER
                         CLERK OF COURTS - COUNTY COMPTROLLER - AUDITOR - TREASURER - RECORDER

                                 CIVIL CUSTOMER ASSISTANCE DIVISION
                                                               I

                                                               I

                                                                                            HILLSEIDRDUEH EBUMW LL--.
                                                                                               JW!43329 pH4:-95
December 29, 2023
                                                                                       QQ/44,4 of we
HILLSBOROUGH COUNTY COURT CLERK COMPTROLLER
ATTN: CIRCUIT CIVIL                    I
                                                                                       ,  u.
307 N MICHIGAN AVE
PLANT CITY, FL 33563                                               I




Re: 2023 CA 001866 - ERICA BRYANT vs. BOARD QF, TRUSTEES ETC.
                                                                   I

Dear Clerk:
In accordance with the order of this Court in the above-styled cause, enclosed is the
original file along with a certified copy of the order of transfer.
                                                                   !
       EI Also enclosed is a check in the amount of $.00 for the transfer fee.
      [Xl No transfer fee was received for forwarding.                 I




Please receipt for the file on the enclosed copy of this letter
                                                          I
                                                                and return to this office.
                                                                       I


Sincerely,                                                              I


                                                                   I g
GWEN MARSHALL        .
CLERK OF THE CIRCUIT COURT                                                 I




BY:                  I4-¢£!
       DEPUTY €IIERK
                                                                            I


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                                                                       | I




                                                                               I




                                                                                   I




                                     WWW.CLERK.LEON.FL.US
                     PHONE: 850.606.4150 - (FAMILY LAW) EXT: 4170II (CIRCUIT CIVIL);
                     EXT: 4110 (COUNTY CIVIL, SMALL CLAIMS, LANDLORD TENANT)
                   301 SOUTH MONROE STREET, #100 . TALLAHASSEE,
                                                              I
                                                                 FLORIDA 32301
J¢\
      Case
      f
           8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 5 of 164 PageID 11
 Filing # 188755935E-Fi1ed 12/28/2023 10:48:43 AM


                                                                                 IN TI-IE CIRCUIT COURT OF TI-IE
                                                                                 SECOND JUDICIAL CIRCUIT,
                                                                                 IN ANI) FOR LEON COUNTY,
                                                                                 FLORIDA

            ERICA BRYANT,                                                                   W//~ 414' OM; '-6448
                                                                                                    D1v..L
                                   I'l:\intiI'i`,

           v.                                                                    'CASE NO. 2023~CA-001866
           BOARD OF TRUSTEES FOR THE                                                  A Certhied Copy
           UNIVERSITY OF SOUTH FLORIDA and                                            Attest:
           FLORIDA DEPARTMENT OF EDUCATION,
                                                                                        Gwendolyn Marshall l
                                   Dcfcndan ts.                                       Clerk & Comptroller
                                                                                      Leon County, Floyd
                                                                             /
                                                                                      By 4
                                                    0 12.111312 'l'R.,\NS!rI2R1{IN(T,~ am
                                                                                             Za,84-f `D'ebuty
                                                                                                         '*~'-@»< J
                                                                                                              Clerk /- ~¢ 2 3
                            THIS CAUSE came before the Court on: (I) Dclendant University of South Florida Board

          of Trustees' ("USFBOT") Motion to Dismiss Plaintilltls Complaint for improper Venue, Motion

          to Dismiss Count II otIPlaintillf's Complaint for Failure to State at Cause olfAction, and' Supporting

          Memorandum of` Law, filed on October 2, 2023; (2) Defendant USFBOT's Motion to Dismiss

          Counts l and Ill l'laintifIPs Complaint, and Supporting Memorandttm of Law, tiled on October 2.

          2023; and (3) Defendant Florida Department of Education's ("FDOE") Motion to Dismiss

         Plaintiffs Complaint. filed on October 2. 2023. The Court. having reviewed the aforementioned

         documents, entertained arguments of counsel during a hearing noticed via Zoom videoconference

         on December 13, 2023. and otherwise being l'ully informed in the premises, hereby ORDERS

         AND ADJUDGES the Following:

                        l.       Pursuant to Fla. Stat. § 47.021, venue is proper in Leon County where Defendant.

         Florida Department olIEducation, maintains its headquarters, however, pursuant to stipulation by

         the parties which this Coup hereby approves, the Leon County Clerk of Court is hereby directed

         lo transfer the case to the Tliirleentli Judicial Circuit Court, in and For Hillsborough County_


         mi 1 (1 I '3f>\7
     Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 6 of 164 PageID 12
1*




        Florida. Any service or other charges associated with s xtzh transfer shall be split evenly hy the

        Defendants. As a result of this ruling, Defendant. us\:re.oT's Motion to Dismiss Plaintiffs

        Complaint (br Improper Venue is hereby declared Moor.

                   2.     All other Motions currently pending in tie case will be transferred with the case

        file. and rescheduled for hearing before the Thirteenth Judicial Circuit Court. in and lbr

        Hillsborough County, Florida.

                   DONE ANI) ORDERED in Chambers, at Tallahassee, Leon County, Florida on this 9 / 8

        day of December. 2023.
                                                                                         ,,{...,,.""




                                                                           QW »*"   **

                                                                  mdrable Angela Co. Damps *y
                                                               C i rcmiil .I udgc




        cc:        All counsel of record

                                                                     I I




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         105 I6l9(1\2
          Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 7 of 164 PageID 13
                                                                                                                                   Page:
Printed: 12/29/2023                                                Leon County
                                         Docket Summary - Case Number 2023 CA 001866
                                                                                              fmr- of;-o<>o~fX'3/
                                                                                                        we
  Cases Type                                                                 Status         File Date      Judge

  CIRCUIT CIVIL OTHER DISCRIMINATION                                          CLOSED        07/12/2023 ANGELA C DEMPSEY


                                                          1>ARTY INF0RM¢§33l9N
     BRYANT, ERICA                                                                            PLAiNT1FF
                Attorney: BRIAN OSHEA FINNERTY
                                203 NORTH GADSDEN STREEZ' TALLAHASSEE, FL 32301
                                                                                                              HILLSEEEUUEH CUUMT9 I 11.1
                                     SECONDARY' (850) 228-6366
                                                                                                                   3898 2 2825 PH8:f3'.3
                      Attorney: MARIE A A/MTTOX
                                                (904) 224-6191

     BOARD OF TRUSTEES FOR THE UNIVERISTY OF SOUTH FLORIDA                                    DEFENDANT
                      Attorney: PRO SE                                                        Dismissed Date: I 0/02/2023
                      Attorney: FRANK DAMON KITCHEN
                               P O BOX 41099, JACKSONVILLE, FL 32203
                                           FAX' (904) 356-8200
                      Attorney: JADIE R MIMS IV
                               PO BOX 4] 099, JA CKSONVILLE, FL 32203
                                   SECONDARY' (904) 355-0225

     FLORIDA DEPARTMENT OF EDUCATION                                                          DEFENDANT
                      Attorney: PRO SE                                                        Dismissed Date: 1 0/02/2023
                      Attorney: THOMAS R THOMPSON
                                1330 THOMASVILLE ROAD, TALLAHASSEE, FL 32303
                                           FAX- (850) 386-8507
                      Attorney: MALLORYBENNETTBROWN
                                         PRIMARK-   (850) 386-5777


                                                         J5*r§;.


                                                                   ])ISP9S1TI()N§f

 Court Type Description:      CIRCUIT CIVIL
  Claim Amount:               $ 100,001.00
 Disposition:                 OTHER                                                    Disposition Date:    12/28/2023



                                                     1    .s CHED UMD

    Event Type            Block Date Start Time Location                    Judge            Result Date Result
    MOTION                12/13/2023     2:30 pm    ZOOM-COURTHO            ANGELA C
    HEARING                                         USE                     DEMPSEY
    MOTION                12/13/2023     2:45 pm    ZOOM-COURTHO            ANGELA C
    HEARING                                         USE                     DEMPSEY
                                                                                       A Certified Copy
                                                                                       Attest:

                                                                                         Gwemi@Eyru WiarShaiE
                                                                                       Clerk & Comptroller
                                                                                       Leon County, Florida;

                                                                                       Be
                                                                                                             58i§ ¢k' 2
          Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 8 of 164 PageID 14
                                                                                                                    Page:
Printed: 12/29/2023                                Leon County
                                    Docket Summary - Case Number 2023 CA 001866



                                                            EyEs
                                                                    Total       Waved                  Amount
Date            Description                                          Fee       Amount                   Paid     Balance
07/13/2023      COMPLAINT                                           $400.00       $0.00                $400.00      $0.00
07/13/2023      CIRCUIT CIVIL SUMMONS ISSUED                         $1 0.00      $0.00                 $10.00      $0.00
07/13/2023      CIRCUIT CIVIL SUMMONS ISSUED                         $10.00       $0.00                 $10.00      $0.00
07/13/2023      CIRCUIT CIVIL SUMMONS ISSUED                         $10.00       $0.00                 $10.00      $0.00

                                             Grand Total:           $430.00       $0.00                $430.00      $0.00

                                                                                          £3 3 4   4




                                                      i)`CiE3KET-


             Date     Docket Description

    1 07/12/2023      CIVIL COVER SHEET

    2 07/12/2023      COMPLAINT

    3 07/12/2023      SUMMONS ISSUED

    4 07/12/2023      SUMMONS ISSUED

    5 07/12/2023      SUMMONS ISSUED

    6 07/18/2023      JUDGE DEMPSEY, ANGELA C: ASSIGNED

    7 07/18/2023      PAYMENT $430.00 RECEIPT #1724045

    8 07/18/2023      UNIFORM ORDER FOR ACTIVE, DIFFERENTIAL CIVIL CASE MANAGEMENT E-NOTICED via email on
                      2023-07-1 8

    9 09/26/2023      RETURN OF SERVICE EXECUTED-THE BOARD OF TRUSTEES FOR THE UNIVERSITY OF SOUTH
                      FLORIDA

   10 10/02/2023      DEFENDANT FLORIDA DEPARTMENT OF EDUCATION'S MOTION TO DISMISS PLAINTIFF'S
                      COMPLAINT

   l l 10/02/2023     DEFENDANT'S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS TO PLAINTIFF

   12 10/02/2023      DEFENDANT'S NOTICE OF SERVING INTERROGATORIES TO PLAINTIFF

   13 10/02/2023      NOTICE OF ADDITIONAL APPEARANCE AND DESIGNATION OF EMAIL ADDRESSES FOR
                      DEFENDANT FLORIDA DEPARTMENT OF EDUCATION

   14 10/02/2023      DEFENDANTS' MOTION TO DISMISS PLAINTIFF'S COMPLAINT FOR IMPROPER VENUE, MOTION TO
                      DISMISS COUNT II OF PLAINTIFF'S COMPLAINT FOR FAILURE TO STATE A CAUSE OF ACTION, AND
                      SUPPORTING MEMORANDUM OF LAW

   15 10/02/2023       DEFENDANTS' MOTION TO DISMISS COUNTS 1 AND III OF PLAINTIFF'S COMPLAINT, AND
                       SUPPORTING MEMORANDUM OF LAW

   16 10/03/2023      DEFENDANT, FLORIDA DEPARTMENT OF EDUCATION'S AMENDED NOTICE OF TAKING
                      PLAINTIFF'S IN-PERSON DEPOSITION
           Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 9 of 164 PageID 15
                                                                                                          Page:
Printed: 12/29/2023                                Leon County
                                    Docket Summary - Case Number 2023 CA 001866



                                                     DOCKETV

            Date      Docket Description

   17 10/03/2023      NOTICE OF VIDEO-CONFERENCE HEARING

   18   10/03/2023    AMENDED NOTICE OF VIDEO-CONFERENCE HEARING

   19   10/03/2023    DEFENDANT, FLORIDA DEPARTMENT OF EDUCATION'S NOTICE OF TAKING PLAINTIFF'S
                      IN-PERSON DEPOSITION

   20 10/05/2023      MOTION HEARING SET FOR 12/13/2023 AT 2:30 PM IN ZOOMC, JDG: DEMPSEY, ANGELA C

   2 1 10/1 1/2023    DEFENDANT, UNIVERSITY OF SOUTH FLORIDA BOARD OF TRUSTEES' NOTICE OF SERVING FIRST
                      SET OF INTERROGATORIES TO PLAINTIFF

   22 10/ 1 8/2023    NOTICE OF ZOOM HEARING ON DEFENDANT, UNIVERSITY OF SOUTH FLORIDA BOARD OF
                      TRUSTEES', MOTIONS TO DISMISS PLAINTIFF'S COMPLAINT, AND SUPPORTING MEMOMNDA OF
                      LAW

   23 10/ 1 8/2023    PLAINTIFF'S NOTICE OF TAKING DEPOSITIONS VIA VIDEO-CONFERENCE ZOOM

   24 10/1 9/2023     MOTION HEARING SET FOR 12/13/2023 AT 2:45 PM IN ZOOMC, JDG: DEMPSEY, ANGELA C

   25 11/01/2023      NOTICE OF SERVICE OF PLAINTIFFS VERIFIED ANSWERS TO DEFENDANT'S FIRST SET OF
                      INTERROGATORIES

   26 11/0 1/2023     PLAINTIFF'S RESPONSE TO DEFENDANT'S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS

   27 11/09/2023      RETURN OF SERVICE EXECUTED AGENCY DEPT OF EDUCATION

   28 11/09/2023      RETURN OF SERVICE EXECUTED AGENCY DIV OF RISK MGMT DEPT OF FINANCIAL SERVICES

   29 1 1/1 3/2023    NOTICE OF APPEARANCE OF BRIAN O FINNERTY AND DESIGNATION OF EMAIL ADDRESSES

   30 11/20/2023      NOTICE OF SERVICE OF PLAINTIFFS UNVERIFIED ANSWERS TO DEFENDANT BOARD OF
                      TRUSTEES FOR THE UNIVERSITY OF SOUTH FLORIDA'S FIRST SET OF INTERROGATORIES

   3 1 1 1/20/2023    PLAINTIFF'S RESPONSE TO DEFENDANT'S
                      FIRST REQUEST FOR PRODUCTION

   32 1 1/2 1/2023    NOTICE OF SERVICE OF PLAINTIFFS VERIFIED ANSWERS TO DEFENDANT BOARD OF TRUSTEES
                      FOR THE UNIVERSITY OF SOUTH FLORIDA'S FIRST SET OF INTERROGATORIES

   33 12/04/2023      DEFENDANT FLORIDA DEPARTMENT OF EDUCATION'S
                      CERTIFICATE OF NON-OBJECTION IN COMPLIANCE WITH FLORIDA RULE OF CIVIL PROCEDURE
                      1.351 AND REQUEST FOR COPIES TO CO-DEFENDANT BOARD OF TRUSTEES FOR THE UNIVERSITY
                      OF SOUTH FLORIDA

   34 12/28/2023      ORDER TRANSFERRING VENUE
      Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 10 of 164 PageID 16
Filing # 182661989 E-Filed 09/26/2023 09:52:58 PM

                                                                                                                           Job # T233209
      VERIFIED RETURN OF SERVICE
      Cllent MU:
      MARIE MA7TOX, PA
      MARIE MATTOX
      203 NORTH GADSDEN STREET
      Tallahassee, R. 32301

      can Info:
      PLAINTIFF:                                                                                                             CIRCUIT COURT
      ERICA BRYANT
       -V8|5|.\5-                                                                                                     Oounty of Leon, Florida
      DEENDANT:                                                                                             Court Case # zozs u ooxa6s
      BOARD OF TRUSTEES For THE unwERslw OF SOUTH FLORIDA;
      ET AL.
      Servkz lnlo:
      Date Received: 9/11/2023 at 11:21 AM
      Sewlce: I Sewed BOARD OF TRUSTEES FOR me UNIVERSITY OF SOUTH FLORIDA c/o wxLuAM WEATHERFORD -
      CHAIR
      WlU'\I SUMMONS; wnrwm; UNIFORM ORDER FOR ACTIVE, DIFFERENTIIL CIVIL CASE MANAGEMENT;
      SUPPLEMENT TO CIVIL use MANAGEMENT ORDER
      by leaving with Jennlfer Gllmore, AUTHORIZED TO AGCEFI'

      As Budnw 4202 E. FOWLER AVE, cssaoz TAMPA, FL 33520
      LaBtude: zs.oss3s9, LongluMez -82.408334

      On 9/12/2023 at 11:43 AM
      Manner d Service: GOVERNMENT AGENCY/BOARD
      PUBI_IC AGENCY serzvrce- F.S. 48.111 (1)(a)(b)(¢:) (2) (3) sazven CONFIRMS THAT HF/SHE HAS MCKNOWLEDGED THE
      FOLLOWING: (1) Process against any munklpal corporation, agency, board, or oommlsslon, department, or subdivision of the snare or
      any county whidl has a governing board, council, or commission or whldr is a body corporate shall be served: (a) On the president,
      rrrayor, chair, or other' head tlreeof; and In his or her absence; (b) On the voe president. woe mayor, or vie chair, or in the absence
      of all of me above; (c) On any member of me governing board, oouncll, M oommlsslon. IN THE ABSENCE OF ll\LL OF 11-lE ABOVE,
      THE AFOREMENTIONED INDIVIDUAL HAS sTATeo THAT THEY MRE AUTHORIZED TO ACCEPT ON BEHALF OF SUBJECT.



      I Tevltt Givens admowledge that am 18 years or older, authorized to serve process, in good standing in the jurisdiction wherein
      the process was served, and I have no interest in me above action. Under paralties or perjury, I declare that! have read the
      foregoing document and mar the fans 7° In it are hue.

      Signature of Saver:
      nun Givens
      Lie # CPS 12-581841
      Aocunnf SERVE OF 1AU.AHASSeE
      400 CAPITAL GRCLE SE STE 18291
      Tallahassee, FL 32301
      Phone: (850) 519-5494

      Our Job # rz:-l3209     Glent Ref # sum BRYANT




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Filing #Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 11 of 164 PageID 17
        185884318   E-Filed 11/09/2023 09:34:47 PM


       VERIFIED RETURN OF SERVICE                                                                                          Job # T233210

       Client Info:
       MARIE MATTOX, PA
       MARIE MATTOX
       203 NORTH GADSDEN STREEt
       Tallahassee, FL 32301

       Case Info:
       PLAINTIFF:                                                                                                            CIRCUIT COURT
       ERICA BRYANT,
        -versus-                                                                                                     County of Leon, Florida
       DEFENDANT:                                                                                           Court Case # 2023 CA 001866
       BOARD OF TRUSTEES FOR THE UNIVERSITY OF SOUTH FLORIDA;
       ET AL.

       Service Info:

       Received by KATHRYN VILLA: on September, nth 2023 at 11:25 AM
       Service: I Served FLORIDA DEPARTMENT OF EDUCATION C/O MANNY DIAZ, JR, COMMISSIONER
       W ith: SUMMONS; COMPLAINT; UNIFORM ORDER FOR ACTIVE, DIFFERENTIAL CIVIL CASE MANAGEMENT;
       SUPPLEMENT TO CIVIL CASE MANAGEMENT ORDER
       by leaving with BONNIE WILMOT, AUTHORIZED TO ACCEPT

       At Business TURLINGTON BUILDING, SUITE 1514 325 WEST GAINS ST TALLAHASSEE, FL 32301
       On 9/12/2023 at 12:46 PM
       Manner of Service: GOVERNMENT AGENCY
       PUBLIC AGENCY SERVICE: F.S. 48.111 (1)(a)(b)(c) (2) (3)


       I KATHRYN VILLA acknowledge that I am 18 years or older, authorized to serve process, in good standing in the jurisdiction
       wherein the process was served, and I have no interest in the above action. Under penalties of perjury, I declare that I have read the
       foregoing document and that the facts stated in it are true.




                                                                                          M7/J/~
                                                                                KATHRYN VILLA
                                                                                Lic # 286

                                                                                ACCURATE SERVE OF TALLAHASSEE
                                                                                400 CAPITAL CIRCLE SE STE 18291
                                                                                Tallahassee, FL 32301
                                                                                Phone: (850) 519-5494

                                                                                Our Job # T233210       Client Ref # ERICA
                                                                                BRYANT




                                                            I      '|        II
                                                     I IIIlHilRll"M'll'lllI'llllI        II                                            1of1
Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 12 of 164 PageID 18
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Filing #Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 43 of 164 PageID 49
        188877921   E-Filed 01/02/2024 07:57:39 AM




                                                        IN THE CIRCUIT COURT OF THE
                                                        SECOND JUDICIAL CIRCUIT IN AND
                                                        FOR LEON COUNTY, FLORIDA

        ERICA BRYANT,                                   CASE NO.: 2023-CA-001866

              Plaintiff,
        v.

        BOARD OF TRUSTEES FOR
        THE UNIVERSITY OF SOUTH
        FLORIDA and FLORIDA
        DEPARTMENT OF EDUCATION,

              Defendant.
                                           /


                     DEFENDANT FLORIDA DEPARTMENT OF EDUCATION'S
                               NOTICE OF CANCELLATION OF
                           IN-PERSON DEPOSITION OF PLAINTIFF

              PLEASE TAKE NOTICE that the deposition of PLAINTIFF, ERICA BRYANT set at 9:00

        a.m. EST, Thursday, January 4, 2024, before For the Record Corut Reporting, located at 1500

        Mahan Drive, Suite 140, Tallahassee, Florida 32308, has been CANCELLED and WILL BE

        RESCHEDULED AT A LATER DATE.

                      DATED this 2nd day of January, 2024.

                                                 THOMPSON, CRAWFORD,
                                                 BROWN & SMILEY, PA

                                                 /s/ Thomas R. Thompson

                                                 THOMAS R. THOMPSON, ESQUIRE
                                                 FLORIDA BAR NO. 890596
                                                 1330 Thomasville Road
                                                 Tallahassee, FL 32303
                                                 (850) 386-5777
                                                 Fax: (850)386-8507
                                                 tom@tcslawfirm.net
                                                 rebecca@tcslawfirm.net
                                                 ATTORNEY FOR DEFENDANT FDOE
Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 44 of 164 PageID 50




                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a copy of the foregoing has been furnished by Electronic Filling

 to all counsel of record on this 2nd day of January, 2024.


                                                Is/Thomas R. Thompson

                                                Thomas R. Thompson, Esq.


 cc: For the Record Court Reporting
Filing #Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 45 of 164 PageID 51
        177301172   E-Filed 07/12/2023 10:36:13 PM



        FORM 1.997.        CIVIL COVER SHEET

        The civil cover sheet and the information contained in it neither replace nor supplement the filing
        and service of pleadings or other documents as required by law. This form must be filed by the
        plaintiff or petitioner with the Clerk of Court for the purpose of reporting uniform data pursuant
        to section 25.075, Florida Statutes. (See instructions for completion.)


                1.      CASE STYLE

                     IN THE CIRCUIT/COUNTY COURT OF THE SECOND JUDICIAL CIRCUIT,
                                IN AND FOR LEON COUNTY, FLORIDA

        ERICA BRYANT
        Plaintiff                                                                Case #     2023 CA 001866
                                                                                 Judge
        vs.
       BOARD OF TRUSTEES FOR THE UNIVERISTY OF SOUTH FLOR, FLORIDA
       DEPARTMENT OF EDUCATION
        Defendant



                 11.     AMOUNT OF CLAIM
       Please indicate the estimated amount of the claim, rounded to the nearest dollar. The estimated amount of
       the claim is requested for data collection and clerical processing purposes only. The amount of the claim
       shall not be used for any other purpose.

        0 $8,000 or less
        E $8,001 - $30,000
        I] $30,001- $50,000
        Q $50,001- $75,000
        0 $75,001 - $100,000
        8] over $100,000.00

                111.    TYPE OF CASE           (If the case fits more than one type of case, select the most
        definitive category.) If the most descriptive label is a subcategory (is indented under a broader
        category), place an X on both the main category and subcategory lines.




                                                            1
Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 46 of 164 PageID 52




 CIRCUIT CIVIL

 II Condominium
 E Contracts and indebtedness
 E Eminent domain
 CI Auto negligence
 E Negligence-other
         0 Business governance
         Cl Business torts
         E Environmental/Toxic tort
         E Third party indemnification
         CI Construction defect
         E Mass tort
         E Negligent security
         E Nursing home negligence
         E Premises liability-commercial
         E Premises liability-residential
 E Products liability
 CI Real PropertyMortgage foreclosure
       E Commercial foreclosure
       [I Homestead residential foreclosure
       E Non-homestead residential foreclosure
       E Other real property actions

 l:IProfessional malpractice
         E Malpractice-business
         II Malpractice-medical
         E Malpractice-other professional
 0 Other
         E Antitrust/Trade regulation
         0 Business transactions
         E Constitutional challenge-statute or ordinance
         E Constitutional challenge-proposed amendment
         E Corporate trusts
         X Discrimination-employment or other
         [I Insurance claims
         E Intellectual property
         CI Libel/Slander
         E Shareholder derivative action
         E Securities litigation
         [I Trade secrets
         E Trust litigation

 COUNTY CIVIL

 III Small Claims up to $8,000
 EI Civil
 [I Real property/Mortgage foreclosure

                                                 2
Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 47 of 164 PageID 53



 E Replevins
 E Evictions
        0 Residential Evictions
        E Non-residential Evictions
 0 Other civil (non-monetary)

                                      COMPLEX BUSINESS COURT

This action is appropriate for assignment to Complex Business Court as delineated and mandated by the
Administrative Order. Yes [I No ><

         IV.    REMEDIES SOUGHT (check all that apply):
         M Monetary,
         >< Nonmonetary declaratory or injunctive relief,
         >< Punitive



         v. NUMBER OF CAUSES OF ACTION: [ ]
         (Specify)
            1

         VI.     IS THIS CASE A CLASS ACTION LAWSUIT?
                 E yes
                 >< no



         VII.    HAS NOTICE OF ANY KNOWN RELATED CASE BEEN FILED?
                 >< no

                 E yes If "yes," list all related cases by name, case number, and court.

         VIII. IS JURY TRIAL DEMANDED IN COMPLAINT?
                 >< yes

                E no

         IX.     DOES THIS CASE INVOLVE ALLEGATIONS OF SEXUAL ABUSE?
                 D yes
                 >< no




 I CERTIFY that the information I have provided in this cover sheet is accurate to the best of
 my knowledge and belief, and that I have read and will comply with the requirements of
 Florida Rule of Judicial Administration 2.425 .

 Signature: s/ Marie A Mattock                          Fla. Bar # 739685
                Attorney or party                                      (Bar # if attorney)
Marie A Mattock                                  07/12/2023
 (type or print name)                            Date

                                                   3
Filing #Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 48 of 164 PageID 54
        177301172   E-Filed 07/12/2023 10:36:13 PM


                                                                IN THE CIRCUIT COURT OF THE
                                                                SECOND JUDICIAL CIRCUIT, IN AND
                                                                FOR LEON COUNTY, FLORIDA

       ERICA BRYANT,                                            CASE NO.: 23 CA-     2023 CA 001866
                                                                FLA BAR NO.: 0739685
              Plaintiff,

       v.

       BOARD OF TRUSTEES FOR THE
       UNIVERSITY OF SOUTH FLORIDA and
       FLORIDA DEPARTMENT OF EDUCATION,                                    SUMMONS
              Defendants.
                                                    /


        THE STATE OF FLORIDA:

        To Each Sheriff of the State:

                YOU ARE COMMANDED to serve this summons and a copy of the complaint or
        petition in this action on Defendant:

                FLORIDA DEPARTMENT OF EDUCATION
                c/0 Manny Diaz, Jr., Commissioner
                Turlington Building, Suite 1514
                325 West Gaines Street
                Tallahassee, FL 32399-0400

              Each defendant is required to serve written defenses to the complaint or petition on
        Marie A. Mattock, P. A., Plaintiffs attorney, whose address is 203 North Gadsden Street,
        Tallahassee, FL 32301, within 20 days after service of this summons on that defendant, exclusive
        of the day of service, and to file the original of the defenses with the clerk of this court, either
        before serve on plaintiffs attorney or immediately thereafter. If a defendant fails to do so, a
        default will be entered against that defendant for the relief demanded in the complaint or
        petition.

                DATED on                            7
                                                        2023.

                                                        CLERK OF THE CIRCUIT COURT

                                                                                       07/18/2023
                                                        By:          an
Filing #Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 49 of 164 PageID 55
        177301172   E-Filed 07/12/2023 10:36:13 PM


                                                                    IN THE CIRCUIT COURT OF THE
                                                                    SECOND JUDICIAL CIRCUIT, IN AND
                                                                    FOR LEON COUNTY, FLORIDA

        ERICA BRYANT,                                               CASE NO.: 23-CA-            2023 CA 001866
                                                                    FLA BAR NO.: 0739685
                Plaintiff,

        v.

        BOARD OF TRUSTEES FOR THE
        UNIVERSITY OF SOUTH FLORIDA and
        FLORIDA DEPARTMENT OF EDUCATION,                                       SUMMONS
                Defendants.
                                                                /


        THE STATE OF FLORIDA:

        To Each Sheriff of the State:

                YOU ARE COMMANDED to serve this summons and a copy of the complaint or
        petition in this action on Defendant:

               DIVISION OF RISK MANAGEMENT
               Department of Financial Services
               200 East Gaines Street
               Tallahassee, FL 32399

              Each defendant is required to serve written defenses to the complaint or petition on
        Marie A. Mattock, P. A., Plaintiffs attorney, whose address is 203 North Gadsden Street,
        Tallahassee, FL 32301, within 20 days after service of this summons on that defendant,
        exclusive of the day of service, and to file the original of the defenses with the clerk of this court,
        either before serve on plaintiffs attorney or immediately thereafter. If a defendant fails to do
        so, a default will be entered against that defendant for the relief demanded in the complaint or
        petition.

                DATED on                              7
                                                          2023.

                                                          CLERK OF THE CIRCUIT COURT

                                                                                         07/18/2023
                                                          By:
Filing #Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 50 of 164 PageID 56
        177301172   E-Filed 07/12/2023 10:36:13 PM


                                                                  IN THE CIRCUIT COURT OF THE
                                                                  SECOND JUDICIAL CIRCUIT, IN AND
                                                                  FOR LEON COUNTY, FLORIDA

        ERICA BRYANT,                                             CASE NO.: 23-CA-           2023 CA 001866
                                                                  FLA BAR NO.: 0739685
                Plaintiff,

        v.

        BOARD OF TRUSTEES FOR THE
        UNIVERSITY OF SOUTH FLORIDA and
        FLORIDA DEPARTMENT OF EDUCATION,                                       SUMMONS
                Defendants.
                                                          /



        THE STATE OF FLORIDA:

        To Each Sheriff of the State:

                YOU ARE COMMANDED to serve this summons and a copy of the complaint or
        petition in this action on Defendant:

               BOARD OF TRUSTEES FOR THE
               UNIVERSITY OF SOUTH FLORIDA
               c/0 WILLIAM WEATHERFORD - CHAIR
               4202 E. FOWLER AVENUE, CGS301
               TAMPA, FL 33620



              Each defendant is required to serve written defenses to the complaint or petition on
        Marie A. Mattock, P. A., Plaintiffs attorney, whose address is 203 North Gadsden Street,
        Tallahassee, FL 32301, within 20 days after service of this summons on that defendant,
        exclusive of the day of service, and to file the original of the defenses with the clerk of this court,
        either before serve on plaintiffs attorney or immediately thereafter. If a defendant fails to do
        so, a default will be entered against that defendant for the relief demanded in the complaint or
        petition.

                DATED on                              7   2023.

                                                          CLERK OF THE CIRCUIT COURT

                                                          By:                          07/18/2023
          Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 51 of 164 PageID 57

                                         LEON COUNTY Receipt of Transaction
                                               Receipt # 1724045
                                                                                                                         GWEN MARSHALL
                                                                                                              Clerk of Court and Comptroller
                                                                                                                 LEON COUNTY, FLORIDA


Received From :
Marie A Mattox

1




On Behalf Of:


                                                                                                                   On: 7/18/2023 12:14:58PM
3                                                                                                                    Transaction # 101004957
                                                                                                          Cashiered by: A ODONNELL

CaseNumber 2023 CA 001866

Judge ANGELA C DEMPSEY
ERICA BRYANT VS BOARD OF TRUSTEES FOR THE UNIVERISTY OF SOUTH FLOR
    Comments :




Fee Description                                         Fee          Prior Paid     Waived              Due            paid         Balance
(COMP_CA) COMPLAINT                                   400.00              0.00         0.00          400.00          400.00            0.00
(CASUIS) CIRCUIT CIVIL SUMMONS ISSUED                  10.00              0.00         0.00           10.00           10.00            0.00
(CASUIS) CIRCUIT CIVIL SUMMONS ISSUED                  10.00              0.00         0.00           10.00           10.00            0.00
(CASUIS) CIRCUIT CIVIL SUMMONS ISSUED                  10.00              0.00         0.00           10.00           10.00            0.00

                                          Total :      430.00             0.00         0.00          430.00           430.00            0.00




                                    Grand Total:       430.00             0.00         0.00          430.00          430.00             0.00



PAYMENTS


    Payment Type           Reference                                       Amount        Refund       Overage        Change      Net Amount
    CREDIT CARD EFILE   177301172                               OK         430.00             0.00       0.00           0.00         430.00

                                                    Payments Total:         430.00            0.00        0.00          0.00          430.00




                                                                                                                                  Page 1 of 1
Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 52 of 164 PageID 58
Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 53 of 164 PageID 59
Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 54 of 164 PageID 60
Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 55 of 164 PageID 61
Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 56 of 164 PageID 62
Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 57 of 164 PageID 63
Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 58 of 164 PageID 64
Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 59 of 164 PageID 65
Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 60 of 164 PageID 66
Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 61 of 164 PageID 67
Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 62 of 164 PageID 68
Filing # Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 63 of 164 PageID 69
         183021800   E-Filed 10/02/2023 01 :43:49 PM


                                                                 IN THE CIRCUIT COURT OF THE
                                                                 SECOND JUDICIAL CIRCUIT IN AND
                                                                 FOR LEON COUNTY, FLORIDA

        ERICA BRYANT,                                            CASE NO.: 2023-CA-001866

               Plaintiff,

        v.

        BOARD OF TRUSTEES FOR
        THE UNIVERSITY OF SOUTH
        FLORIDA and FLORIDA
        DEPARTMENT OF EDUCATION,

               Defendant.

                                              /


                            NOTICE OF ADDITIONAL APPEARANCE AND
                              DESIGNATION OF EMAIL ADDRESSES
                      FOR DEFENDANT FLORIDA DEPARTMENT OF EDUCATION

               Mallory B. Brown, Esq. of the law firm of Thompson, Crawford, Brown & Smiley, P.A.

        hereby notifies this court and the parties of her appearance on behalf of the Defendant,

        FLORIDA DEPARTMENT OF EDUCATION, and requests that pleadings, etc. directed to this

        Defendant be mailed to the undersigned at the stated address .

               Pursuant to the Florida Rules of Civil Procedure 2.516, hereby designates undersigned

        counsel's primary electronic mail address and secondary electronic mail address for this proceeding

        as follows:


               Primary E-Mail Address:               Mallory B. Brown, Esq.
                                                     mai§oFy(?3ltQslawf3rm.mei

               Secondary E-Mail Address:             Rebecca R. Martin
                                                     i4,l9.3(.,@a&€él1;,Q§   R firm m i
                                                     Victoria Bramblett
                                                      ,§§,8t=;"u°ia{8l?,':£:3§;;w"f3rim; r3c§
Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 64 of 164 PageID 70




        DATED this _2nd_ day of October, 2023 .



                                      THOMPSON, CRAWFORD,
                                      BROWN & SMILEY, P.A.

                                      /s/ Mallory B. Brown

                                      MALLORY B. BROWN, ESQUIRE
                                      FLORIDA BAR NO. 124039
                                      1330 Thomasville Road
                                      Tallahassee, FL 32303
                                      (850) 386-5777
                                      Fax: (850)386-8507
                                      mallory@tcslawfirm.net
                                      rebecca@tcslawfirm.net
                                      victoria@tcslawfirm.net
                                      ATTORNEY FOR DEFENDANT FDOC


                                    CERTIFICATE OF SERVICE

        I HEREBY certify that a true and correct copy of the foregoing has been sent by electronic

 filing to all counsel of record this _2nd_ day of October, 2023 .


                                             /s/ Mallory B. Brown

                                             Mallory B. Brown, Esq.
Filing # Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 65 of 164 PageID 71
         183021589   E-Filed 10/02/2023 01 :42:37 PM


                                                          IN THE CIRCUIT COURT OF THE
                                                          SECOND JUDICIAL CIRCUIT IN AND
                                                          FOR LEON COUNTY, FLORIDA

        ERICA BRYANT,                                     CASE NO.: 2023-CA-001866

               Plaintiff,
        v.

        BOARD OF TRUSTEES FOR
        THE UNIVERSITY OF SOUTH
        FLORIDA and FLORIDA
        DEPARTMENT OF EDUCATION,

               Defendant.
                                            /


             DEFENDANT'S NOTICE OF SERVING INTERROGATORIES TO PLAINTIFF

               Defendant, FLORIDA DEPARTMENT OF EDUCATION ("DOE"), by and through

        their undersigned counsel, and pursuant to Florida Rules of Civil Procedure, hereby serves its

        Notice of Serving Interrogatories to Plaintiff, ERICA BRYANT.

                       DATED this 2nd day of October, 2023 .

                                                   THOMPSON, CRAWFORD,
                                                   BROWN & SMILEY, P.A.

                                                   /s/ Thomas R. Thompson

                                                   THOMAS R. THOMPSON, ESQUIRE
                                                   Florida Bar No. 890596
                                                   tom@tcslawfirm.net
                                                   rebecca@tcslawfirm.net
                                                   MALLORY BENNETT BROWN, ESQ.
                                                   Florida Bar No. 124039
                                                   mallory@tcslawfirm.net
                                                   1330 Thomasville Road
                                                   Tallahassee, FL 32303
                                                   (850) 386-5777
                                                   ATTORNEYS FOR DEFENDANT
Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 66 of 164 PageID 72




                               CERTIFICATE OF SERVICE

        I HEREBY certify that a true and correct copy of the foregoing has been sent by

 Electronic   Filing   to    Marie    Mattock,   Esq.,      at   m3ria=;'8?§ maatizzfxi igwvxwm   and

 miche11e2@mattoxlaw.com, this 2nd day of October, 2023 .


                                           /s/ Thomas R. Thompson

                                           Thomas R. Thompson, Esq.
Filing #Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 67 of 164 PageID 73
        183094167   E-Filed 10 /03/2023 10:21:00 AM


                                                              IN THE CIRCUIT COURT OF THE
                                                              SECOND JUDICIAL CIRCUIT IN AND
                                                              FOR LEON COUNTY, FLORIDA

        ERICA BRYANT,                                         CASE NO.: 2023-CA-001866

               Plaintiff,
        v.

        BOARD OF TRUSTEES FOR
        THE UNIVERSITY OF SOUTH
        FLORIDA and FLORIDA
        DEPARTMENT OF EDUCATION,

               Defendant.
                                              /


                   DEFENDANT, FLORIDA DEPARTMENT OF EDUCATION'S
              AMENDED NOTICE OF TAKING PLAINTIFF'S IN-PERSON DEPOSITION

               PLEASE TAKE NOTICE that on Thursday, January 4, 2024, the Attorneys for the

        Defendant, FLORIDA DEPARTMENT OF EDUCATION will take the deposition of ERICA

        BRYANT, Plaintiff, beginning at 9:00 a.m. (EST) - the whole day is reserved for this deposition.

        This deposition will be held IN-PERSON facilitated by For the Record Reporting located at

        1500 Mahan Drive, Suite 140, Tallahassee, Florida 32308 upon oral examination before a notary

        public or a person duly authorized by law to take depositions in the State of Florida. The deposition

        will be taken with ALL parties appearing in-person.

               This deposition is being taken for the purpose of discovery, for use at trial, or both of the

        foregoing, or for such other purposes as are permitted under the applicable and governing rules.

               In compliance with the Americans with Disabilities Act of 1990, you are hereby notified that

        if you require special accommodations due to a disability, contact Thomas R. Thompson, Esquire, no
Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 68 of 164 PageID 74




 later than seven (7) days prior to the date your appearance is required pursuant to this notice to ensure

 that reasonable accolnmodations are available.

 PLEASE GOVEN YOURSELF ACCORDINGLY.

        DATED this 3rd day of October, 2023 .

                                                 THOMPSON, CRAWFORD,
                                                 BROWN & SMILEY, P.A.

                                                 /s/ Thomas R. Thompson
                                                 THOMAS R. THOMPSON, ESQUIRE
                                                 Florida Bar No. 890596
                                                 1330 Thomasville Road
                                                 Tallahassee, FL 32303
                                                 (850) 386-5777
                                                 Fax: (850) 386-8507
                                                 tom@tcslawfrm.net,
                                                 rehecrtn I/'Btc9l:awflirm ne?
                                                 ATTORNEYS FOR DEFENDANT FDOE



                                   CERTIFICATE OF SERVICE

        I HEREBY certify that a true and correct copy of the foregoing has been sent by electronic

 communication to all Counsel of record this 3rd day of October, 2023 .



                                                  /s/ Thomas R. Thompson

                                                 THOMAS R. THOMPSON


 cc: For the Record
Filing # Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 69 of 164 PageID 75
         183124006   E-Filed 10/03/2023 01 :24:22 PM


                                                                IN THE CIRCUIT COURT OF THE
                                                                SECOND JUDICIAL CIRCUIT IN AND
                                                                FOR LEON COUNTY, FLORIDA

        ERICA BRYANT,                                           CASE NO.: 2023-CA-001866

                Plaintiff,
        v.

        BOARD OF TRUSTEES FOR
        THE UNIVERSITY OF SOUTH
        FLORIDA and FLORIDA
        DEPARTMENT OF EDUCATION,

                Defendant.
                                                /


                        AMENDED NOTICE OF VIDEO-CONFERENCE HEARING
                                (to reflect correct time and Zoom link)

                YOU ARE HEREBY NOTIFIED that the undersigned has set a hearing before the Honorable

        Judge Angela C. Dempsey, Leon County, Florida, or any judge sitting in his/her stead, on the

        Defendant Florida Department of Education's Motion to Dismiss Plaintiff's Complaint;

        Defendant, Board of Trustees for the University of South Florida's Motion to Dismiss Count II

        of Plaintiff's Complaint for Failure to State a Cause of Action and Defendant, Board of Trustees

        for the University of South Florida's Motion to Dismiss Counts I and III of Plaintiff's Complaint

        scheduled for Wednesday, December 13, 2023, at 2:45 p.m. EST, via video-conference with ALL

        parties appearing via Zoom information below:


        Topic: 2023CA1866 Bryant V USF - Motions to Dismiss
        Time: Dec 13, 2023, 02:45 PM Eastern Time (US and Canada)

        Join Zoom Meeting
        ht s://zoom.us/i/98458907096?pwd=bmNudDdxVVYxaW51 L2wxdFk3c2Jwdz09

        Meeting ID: 984 5890 7096
        Passcode: 567053


        Two (2) hours have been set aside for this hearing.


                                                            1
Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 70 of 164 PageID 76




        DATED this _3rd_ day of October, 2023 .


                                             THOMPSON, CRAWFORD,
                                             BROWN & SMILEY PA

                                              /s/ Thomas R. Thompson, Esq.

                                             THOMAS R. THOMPSON, ESQUIRE
                                             1330 Thomasville Road
                                             Tallahassee, FL 32303
                                             (850) 386-5777
                                             Fax: (850) 386-8507
                                             tom@tcslawlllrm.net
                                             rebecca@tcslawfirm.net
                                             FLORIDA BAR no. 890596
                                             ATTORNEY FOR DEFENDANT FDOE



                                 CERTIFICATE OF SERVICE

               I HEREBY certify that a true and correct copy of the foregoing has been sent by

 Electronic Filing to all counsel of record, this _3rd_ day of October, 2023 .




                                                     /s/ Thomas R. Thompson

                                                     Thomas R. Thompson, Esq.




                                                 2
Filing #Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 71 of 164 PageID 77
        183082726   E-Filed 10 /03/2023 09:00:16 AM


                                                              IN THE CIRCUIT COURT OF THE
                                                              SECOND JUDICIAL CIRCUIT IN AND
                                                              FOR LEON COUNTY, FLORIDA

        ERICA BRYANT,                                         CASE NO.: 2023-CA-001866

               Plaintiff,
        v.

        BOARD OF TRUSTEES FOR
        THE UNIVERSITY OF SOUTH
        FLORIDA and FLORIDA
        DEPARTMENT OF EDUCATION,

               Defendant.
                                              /


                      DEFENDANT, FLORIDA DEPARTMENT OF EDUCATION'S
                     NOTICE OF TAKING PLAINTIFF'S IN-PERSON DEPOSITION

               PLEASE TAKE NOTICE that on Tuesday, December 5, 2023, the Attorneys for the

        Defendant, FLORIDA DEPARTMENT OF EDUCATION will take the deposition of ERICA

        BRYANT, Plaintiff, beginning at 9:00 a.m. (EST) - the whole day is reserved for this deposition.

        This deposition will be held IN-PERSON facilitated by For the Record Reporting located at

        1500 Mahan Drive, Suite 140, Tallahassee, Florida 32308 upon oral examination before a notary

        public or a person duly authorized by law to take depositions in the State of Florida. The deposition

        will be taken with ALL parties appearing in-person.

               This deposition is being taken for the purpose of discovery, for use at trial, or both of the

        foregoing, or for such other purposes as are permitted under the applicable and governing rules.

               In compliance with the Americans with Disabilities Act of 1990, you are hereby notified that

        if you require special accommodations due to a disability, contact Thomas R. Thompson, Esquire, no
Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 72 of 164 PageID 78




 later than seven (7) days prior to the date your appearance is required pursuant to this notice to ensure

 that reasonable accolnmodations are available.

 PLEASE GOVEN YOURSELF ACCORDINGLY.

        DATED this 3rd day of October, 2023 .

                                                 THOMPSON, CRAWFORD,
                                                 BROWN & SMILEY, P.A.

                                                 /s/ Thomas R. Thompson
                                                 THOMAS R. THOMPSON, ESQUIRE
                                                 Florida Bar No. 890596
                                                 1330 Thomasville Road
                                                 Tallahassee, FL 32303
                                                 (850) 386-5777
                                                 Fax: (850) 386-8507
                                                 tom@tcslawfrm.net,
                                                 rehecrtn I/'Btc9l:awflirm ne?
                                                 ATTORNEYS FOR DEFENDANT FDOE



                                   CERTIFICATE OF SERVICE

        I HEREBY certify that a true and correct copy of the foregoing has been sent by electronic

 communication to all Counsel of record this 3rd day of October, 2023 .



                                                  /s/ Thomas R. Thompson

                                                 THOMAS R. THOMPSON


 cc: For the Record
Filing #Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 73 of 164 PageID 79
        183094167   E-Filed 10/03/2023 10:21:00 AM


                                                              IN THE CIRCUIT COURT OF THE
                                                              SECOND JUDICIAL CIRCUIT IN AND
                                                              FOR LEON COUNTY, FLORIDA

        ERICA BRYANT,                                         CASE NO.: 2023-CA-001866

                 Plaintiff,
        v.

        BOARD OF TRUSTEES FOR
        THE UNIVERSITY OF SOUTH
        FLORIDA and FLORIDA
        DEPARTMENT OF EDUCATION,

                 Defendant.
                                                   /


                              NOTICE OF VIDEO-CONFERENCE HEARING

                YOU ARE HEREBY NOTIFIED that the undersigned has set a hearing before the Honorable

        Judge Angela C. Dempsey, Leon County, Florida, or any judge sitting in his/her stead, on the

        Defendant Florida Department of Education's Motion to Dismiss Plaintiff's Complaint;

        Defendant, Board of Trustees for the University of South Florida's Motion to Dismiss Count II

        of Plaintiff's Complaint for Failure to State a Cause of Action and Defendant, Board of Trustees

        for the University of South Florida's Motion to Dismiss Counts I and III of Plaintiff's Complaint

        scheduled for Wednesday, December 13, 2023, at 2:30 p.m. EST, via video-conference with ALL

        parties appearing via Zoom information below:


        Topic: Judge Marsh's Civil Courtroom
        Time: This is a recurring meeting Meet anytime

        Judge Marsh's Civil Courtroom
        https:/fzoom.us/j..i91553040647



        Two (2) hours have been set aside for this hearing.




                                                         1
Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 74 of 164 PageID 80




        DATED this _3rd_ day of October, 2023 .


                                             THOMPSON, CRAWFORD,
                                             BROWN & SMILEY PA

                                              /s/ Thomas R. Thompson, Esq.

                                             THOMAS R. THOMPSON, ESQUIRE
                                             1330 Thomasville Road
                                             Tallahassee, FL 32303
                                             (850) 386-5777
                                             Fax: (850) 386-8507
                                             tom@tcslawlllrm.net
                                             rebecca@tcslawfirm.net
                                             FLORIDA BAR no. 890596
                                             ATTORNEY FOR DEFENDANT FDOE



                                 CERTIFICATE OF SERVICE

               I HEREBY certify that a true and correct copy of the foregoing has been sent by

 Electronic Filing to all counsel of record, this _3rd_ day of October, 2023 .




                                                     /s/ Thomas R. Thompson

                                                     Thomas R. Thompson, Esq.




                                                 2
Filing #Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 75 of 164 PageID 81
        183721131   E-Filed 10/11/2023 11:11:10AM


                                                                           IN THE CIRCUIT COURT OF THE
                                                                           SECOND JUDICIAL CIRCUIT,
                                                                           IN AND FOR LEON COUNTY,
                                                                           FLORIDA

        ERICA BRYANT,

                          Plaintiff,

        v.                                                                 CASE NO. 2023-CA-001866

        BOARD OF TRUSTEES FOR THE
        UNIVERSITY OF SOUTH FLQRIDA1 and
        FLORIDA DEPARTMENT OF EDUCATION,

                          Defendants.
                                                                       /


              DEFENDANT, UNIVERSITY OF SOUTH FLORIDA BOARD OF TRUSTEES'
              NOTICE OF SERVING FIRST SET OF INTERROGATORIES TO PLAINTIFF

                 COMES NOW Defendant, the University of South Florida Board of Trustees, by and

        through its undersigned attorneys and pursuant to Rule 1.340 of the Florida Rules of Civil

        Procedure, and hereby gives notice that it served its First Set of Interrogatories to Plaintiff, Erica

        Bryant, via email to all counsel of record, this llth day of October, 2023 .

                                                                       Respectfully submitted,

                                                                       Constancy, Brooks, Smith & Prophete, LLP
                                                                       Post Office Box 41099
                                                                       Jacksonville, Florida 32203
                                                                       Telephone: (904) 356-8900
                                                                       Facsimile:     (904) 356-8200

                                                              By: Is/Judie Mims
                                                                    F. Damon Kitchen
                                                                    Florida Bar No. 861634
                                                                    dkitchen@constangy.com
                                                                    Jadie R. Mims
                                                                    Florida Bar No. 1002318
                                                                    jmims@constangy.com

                                                                       Attorneys for Defendant, University of South
                                                                       Florida Board of Trustees


        1 Defendant's proper name in the State of Florida is the University of South Florida Board of Trustees.
        10197259v1
Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 76 of 164 PageID 82




                                  CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that on this nth day of October, 2023, a copy of the foregoing has

 been filed with the Clerk of Court through the Florida E-Filing Portal, which will furnish a copy

 by e-mail to all counsel of record.


                                             By: Is/Judie Mims
                                                     F. Damon Kitchen
                                                     Jadie R. Mims

                                                     Attorneys for Defendant, University of South
                                                     Florida Board of Trustees




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       Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 77 of 164 PageID 83
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                                                                           IN THE CIRCUIT COURT OF THE
                                                                           SECOND JUDICIAL CIRCUIT,
                                                                           IN AND FOR LEON COUNTY,
                                                                           FLORIDA
        ERICA BRYANT,
                         Plaintiff.
        v.                                                                 CASE NO. 2023-CA-001866

        BOARD OF TRUSTEES FOR THE
        UNIVERSITY OF SOUTH FLORlDA' and
        FLORIDA DEPARTMENT OF EDUCATION,
                         Defendants.
                                                                       /

               NOTICE OF ZOOM HEARING ON DEFENDANT, UNIVERSITY OF SOUTH
               FLORIDA BOARD OF TRUSTEES', MOTIONS TO DISMISS PLAINTIFF'S
                     COMPLAINT AND SUPPORTING MEMORANDA OF LAW
                 PLEASE TAKE NOTICE that on Wednesday, December 13, 2023, at 2:45 p.m. EST,

        the undersigned attorneys will call up for hearing, before the Honorablc Angcla C. Dcmpscy,

        Circuit Court Judge, Sccond Judicial Circuit, in and for Lcon County, Florida, the two (2) Motions

        to Dismiss filed by Dcfcndant, Univcrsity of South Florida Board of Trustccs (hereinafter,

        "USFBOT") on Octobcr 2, 2023, as identified below:

                  l. USFBOT's Motion to Dismiss Plaintiff's Complaint for Improper Vcnuc, Motion to
                      Dismiss Count II of Plaintiff's Complaint for Failurc to Statc a Cause of Action, and
                      Supporting Mcmorandum of Law, and

                 2. USFBOT's Motion to Dismiss Counts I and III Plaintiff's Complaint, and Supporting
                     Mcmorandum of Law.

        Two (2) hours have been reserved for the hearing, which will also cover argument on a separate

        Motion to Dismiss filed by Co-Dcfcndant Florida Dcpartmcnt of Education. The hearing will be

        held via Zoom, in accordance with the instructions previously provided by the Court, which

        are copied on the following page:


        | Defendant's proper name in the State of Florida is the University of South Florida Board of Trustees.



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Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 78 of 164 PageID 84




              Topic                  2023CA1866 Bryant V USF Motions to Dismlss
              Time                   Dec 13, 2023; 02:45 PM EST (US and Canada)
              Join Zoom Meeting
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                                            +12678310333,,98458907096#,,,,*567053#
                                               US (Philadelphia)

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                                            +1 786 635 1003 US (Miami)
                                            +1 267 831 0333 US (Philadelphia)
                                            +1 301 715 8592 US (Washington DC)
                                            +1 312 626 6799 US (Chicago)
                                            +1 470 250 9358 US (Atlanta)
                                            +1 470 381 2552 US (Atlanta)
                                            +1 646 518 9805 US (New York)
                                            +1 646 558 8656 US (New York)
                                            +1 651 372 8299 US (Minnesota)
                                            +1 720 928 9299 US (Denver)
                                            +1 971 247 1195 US (Portland)
                                            +1 206 337 9723 US (Seattle)
                                            +1 213 338 8477 US (Los Angeles)
                                            +1 253 215 8782 US (Tacoma)
                                            +1 346 248 7799 US (Houston)
                                            +1 602 753 0140 US (Phoenlx)
                                            +1 669 219 2599 US (San Jose)
                                            +1 669 900 9128 US (San Jose)
                                            +48 22 307 3488 Poland
                                            +48 22 398 7356 Poland
                                            +48 22 306 5342 Poland
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                                     98458907096@10.90.] 1.41
              Join by H.323          10.212.72. 197, 10.90.11.41
              Meeting ID             984 5890 7096
              Passcode               567053

         If you are a person with a disability who needs any accommodation in order to participate

 in this proceeding, you are entitled, at no cost to you, to the provision of certain assistance. Please




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Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 79 of 164 PageID 85




 contact Court Administration not later than seven (7) days prior to the scheduled hearing date. If

 you are hearing or voice impaired, please call 1-800-955-8771.

         PLEASE GOVERN YOURSELF ACCORDINGLY.


         DATED this 18th day of October, 2023.
                                                     Respectfully submitted,

                                                     Constancy, Brooks, Smith & Prophete, LLP
                                                     Post Office BOX 41099
                                                     Jacksonville, Florida 32203
                                                     Telephone: (904) 356-8900
                                                     Facsimile:     (904) 356-8200

                                              By: Is/Judie Mims
                                                    F. Damon Kitchen
                                                    Florida Bar No. 861634
                                                    dkitchen@constangy.com
                                                    Jadie R. Mims
                                                    Florida Bar No. 1002318
                                                    jmims@constangy.com

                                                     Attorneys for Defendant, University of South
                                                     Florida Board of Trustees


                                  CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that on this 18th day of October, 2023, a copy of the foregoing has

 been filed with the Clerk of Court through the Florida E-filing Portal, which will furnish a copy

 by email to all counsel of record.

                                              By: Is/Judie Mims
                                                    F. Damon Kitchen
                                                    Jadie R. Mims

                                                     Attorneys for Defendant, University of Soat/1
                                                     Florida Board of Trustees


 cc:     For the Record Reporting, Inc.



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Filing #Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 80 of 164 PageID 86
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                                                    IN THE CIRCUIT COURT OF
                                                    THE SECOND JUDICIAL
                                                    CIRCUIT, IN AND FOR LEON
                                                    COUNTY, FLORIDA

        ERICA BRYANT,                               CASE NO.: 23-CA-1866
                                                    FLA BAR NO.: 0739685
              Plaintiff,

        v.

        BOARD OF TRUSTEES FOR THE
        UNIVERSITY OF SOUTH FLORIDA and
        FLORIDA DEPARTMENT OF EDUCATION,

              Defendants.
                                                        /


                    PLAINTIFF'S NOTICE OF TAKING DEPOSITIONS
                             VIA VIDEO-CONFERENCE
                                      ZOOM


        TO: Thomas R. Thompson, Esq.
            1330 Thomasville Road
            Tallahassee, FL 32303

              Jodie Mims, Esq.
              Constangy, Brooks, Smith & Prophete, LLP
              200 West Forsyth Street Suite 1700
              Jacksonville, FL 32202-4317

              PLEASE TAKE NOTICE that the undersigned will take the depositions of

        the following persons pursuant to Rule 1.310, Florida Rules of Civil Procedure, on

        January 22 and 23, 2024, beginning at the times listed below before a notary public
Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 81 of 164 PageID 87




 or person authorized by law to take depositions in the State of Florida and/or the

 applicable state:

 January 22, 2024
 Deponent                  Time

 Amanda Meeks         9:00 a.m.
 Matthew Wiley        10:30 a.m.
 Dinh Nguyen          11:30 a.m.
 Casey Graham         1:30 p.m.
 Janet Capps          3 :00 p.m.
 Calah Smith          4:00 p.m.
 Reporter: For the Record- VIA VIDEO-CONFERENCE ZOOM


 January 23, 2024
 Deponent                  Time

 Georgina Portillo    9:00 am.
 Alyssa Tovar         10:00 am.
 Jaquelin Hill        l l:00 am.
 Shonda Goldsmith     l:00 p.m.
 Michelle Gaines      2:00 p.m.
 Melissa Ramsey       3 :00 p.m.
 Casey Graham         3 :30 p.m.
 Matthew Caldwell     4:00 p.m.
 Margaret Aune        4:30 p.m.
 Reporter: For the Record- VIA VIDEO-CONFERENCE ZOOM


       These depositions will be taken by oral examination before an officer duly

 authorized by law to take depositions, and are being taken for the purposes of

 discovery, for use at trial, or both, or for such other purposes as are permitted under

 the applicable and governing rules. These depositions will continue from day to day

 until completed. These depositions will continue from day to day until completed.
                                           2
Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 82 of 164 PageID 88




       In compliance with the Americans with Disabilities Act of 1990, you are
       hereby notified that if you require special accommodations due to a disability,
       contact Marie A. Mattock no later than seven (7) days prior to the date your
       appearance is required pursuant to this notice to ensure that reasonable
       accommodations are available.

       PLEASE GOVERN YOURSELF ACCORDINGLY.



                                       Respectfully submitted,


                                        /s/ Marie A. Mattock
                                       Marie A. Mattock [FBN 0739685]
                                       MARIE A. MATTOX, P.A.
                                       203 North Gadsden Street
                                       Tallahassee, Florida 32301
                                       Primary Email: marie(a3matt®x}a,\v.(;om
                                                            `          aw.(:om
                                       Secondary Email: michelle4l)rrx:¢§ttnyl:aw vol
                                       (850) 383-4800 (telephone)
                                       (850) 383-4801 (facsimile)

                                       ATTORNEY FOR PLAINTIFF

                          CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been
 electronically filed with the Clerk via the Florida Courts e-Filing Portal only this
 18th day of October 2023, which will send Notification of Electronic Filing to all
 counsel of record.

                                       /s/ Marie A. Mattock
                                       Marie A. Mattock


 cc:   For the Record




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Filing #Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 83 of 164 PageID 89
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                  IN THE CIRCUIT COURT OF THE SECOND JUDICIAL CIRCUIT,
                            IN AND FOR LEON COUNTY, FLORIDA

        ERICA BRYANT,

               Plaintiff,

        v.                                                      CASE NO.: 2023-CA-001866

        BOARD OF TRUSTEES FOR
        THE UNIVERSITY OF SOUTH FLORIDA and
        FLORIDA DEPARTMENT OF EDUCATION,

               Defendants.
                                                  /


                  NOTICE OF SERVICE OF PLAINTIFF'S VERIFIED ANSWERS TO
                       DEFENDANT'S FIRST SET OF INTERROGATORIES

               Notice is hereby given that Plaintiff's Verified Answers to Defendant's First Set of

        Interrogatories have been furnished by electronic mail to counsel for Defendant, Thomas R.

        Thompson, THOMPSON, CRAWFORD, BROWN & SMILEY, P.A., 1330 Thomasville Road,

        Tallahassee, Florida 32303 at tom@tcslawfirm.net on November l, 2023 .


                                                  Respectfully submitted,


                                                  Is/Brian Finnerly
                                                  BRIAN FINNERTY, ESQ.
                                                  Florida Bar No.: 94647
                                                  MARIE A. MATTOX, P.A.
                                                  203 North Gadsden Street
                                                  Tallahassee, Florida 32301
                                                  Telephone: (850) 383-4800
                                                  brian.finnerty@mattoxlaw.com
                                                  linette.williams@mattoxlaw.com
                                                  michelle2@mattoxlaw.com [for scheduling matters]

                                                  ATTORNEYS FOR PLAINTIFF




                                                      1
Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 84 of 164 PageID 90
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Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 87 of 164 PageID 93
Filing #Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 88 of 164 PageID 94
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       VERIFIED RETURN OF SERVICE                                                                                          Job # T233211

       Client Info:
       MARIE MATTOX, PA
       MARIE MATTOX
       203 NORTH GADSDEN STREEt
       Tallahassee, FL 32301

       Case Info:
       PLAINTIFF:                                                                                                            CIRCUIT COURT
       ERICA BRYANT,
        -versus-                                                                                                     County of Leon, Florida
       DEFENDANT:                                                                                           Court Case # 2023 CA 001866
       BOARD OF TRUSTEES FOR THE UNIVERSITY OF SOUTH FLORIDA;
       ET AL.

       Service Info:

       Received by KATHRYN VILLA: on September, nth 2023 at 11:26 AM
       Service: I Served DIVISION OF RISK MANAGEMENT DEPARTMENT OF FINANCIAL SERVICES
       W ith: SUMMONS; COMPLAINT; UNIFORM ORDER FOR ACTIVE, DIFFERENTIAL CIVIL CASE MANAGEMENT;
       SUPPLEMENT TO CIVIL CASE MANAGEMENT ORDER
       by leaving with JONATHON DOSTER, AUTHORIZED TO ACCEPT

       At Business 200 EAST GAINES ST TALLAHASSEE, FL 32301
       On 9/12/2023 at 12:15 PM
       Manner of Service: GOVERNMENT AGENCY
       PUBLIC AGENCY SERVICE: F.S. 48.111 (1)(a)(b)(c) (2) (3)


       I KATHRYN VILLA acknowledge that I am 18 years or older, authorized to serve process, in good standing in the jurisdiction
       wherein the process was served, and I have no interest in the above action. Under penalties of perjury, I declare that I have read the
       foregoing document and that the facts stated in it are true.




                                                                                           M7/J/~
                                                                                KATHRYN VILLA
                                                                                Lic # 286

                                                                                ACCURATE SERVE OF TALLAHASSEE
                                                                                400 CAPITAL CIRCLE SE STE 18291
                                                                                Tallahassee, FL 32301
                                                                                Phone: (850) 519-5494

                                                                                Our Job # T233211 Client Ref # ERICA
                                                                                BRYANT




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                   IN THE CIRCUIT COURT OF THE SECOND JUDICIAL CIRCUIT,
                             IN AND FOR LEON COUNTY, FLORIDA

        ERICA BRYANT,

               Plaintiff,

        v.                                                           CASE NO.: 2023-CA-001866

        BOARD OF TRUSTEES FOR
        THE UNIVERSITY OF SOUTH FLORIDA and
        FLORIDA DEPARTMENT OF EDUCATION,

               Defendants.
                                                      /


                            NOTICE OF APPEARANCE OF BRIAN 0. FINNERTY
                               AND DESIGNATION OF EMAIL ADDRESSES

               Please take notice that Brian O. Finnerty now appears as additional counsel for Plaintiff

        and requests addition to the Florida E-filing Portal and other service lists. The undersigned

        requests that all future communications and correspondence be directed to him.

               The undersigned designates the following email addresses, pursuant to Florida Rule of

        Judicial Administration 2.516, for service of all documents required to be served in this

        proceeding:

               Primary E-Mail Addresses: brian.finnerly@mattoxlaw.com

               Secondary E-Mail Address: E'
                                         }me't1;§:.wIiliams(E8matt1Qxla,w.exam

                                             mic:heHe2@matt0xIaw.cQ1;8_ (scheduling)


                                                      Respectfully submitted,


                                                      Is/Brian Finnerly
                                                      BRIAN FINNERTY, ESQ.
                                                      Florida Bar No.: 94647
                                                      MARIE A. MATTOX, P.A.

                                                          1
Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 90 of 164 PageID 96




                                             203 North Gadsden Street
                                             Tallahassee, Florida 32301
                                             Telephone: (850) 383-4800
                                             brian.finnerty@mattoxlaw.com
                                             linette.williams@mattoxlaw.com
                                             michelle2@mattoxlaw.com [for scheduling matters]

                                             ATTORNEYS FOR PLAINTIFF


                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a notice of service of the foregoing has been submitted via

 electronic filing through the Florida Courts E-Filing Portal and as a courtesy by electronic mail

 this 13th day of November 2023 to:

 Thomas R. Thompson
 THOMPSON, CRAWFORD,
 BROWN & SMILEY, P.A.
 1330 Thomasville Road
 Tallahassee, Florida 32303
 tom@tcslawfirm.net

                                             Is/Brian Finnerly
                                             Brian Finnerty, Esq.




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Filing #Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 91 of 164 PageID 97
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                  IN THE CIRCUIT COURT OF THE SECOND JUDICIAL CIRCUIT,
                            IN AND FOR LEON COUNTY, FLORIDA

        ERICA BRYANT,

               Plaintiff,

        v.                                                       CASE NO.: 2023-CA-001866

        BOARD OF TRUSTEES FOR
        THE UNIVERSITY OF SOUTH FLORIDA and
        FLORIDA DEPARTMENT OF EDUCATION,

               Defendants .
                                                  /


         NOTICE OF SERVICE OF PLAINTIFF'S UNVERIFIED ANSWERS TO DEFENDANT
             BOARD OF TRUSTEES FOR THE UNIVERSITY OF SOUTH FLORIDA'S
                           FIRST SET OF INTERROGATORIES

               Notice is hereby given that Plaintiff's Verified Answers to Defendant's First Set of

        Interrogatories have been furnished by electronic mail to counsel for Defendant, Jadie Mims,

        Constancy, Brooks, Smith & Prophete, LLP, Post Office Box 41099, Jacksonville, Florida 323203

        at jmims@constangy.com on November 20, 2023 .


                                                  Respectfully submitted,


                                                  /s/ Brian Finnerly
                                                  BRIAN FINNERTY, ESQ.
                                                  Florida Bar No.: 94647
                                                  MARIE A. MATTOX, P.A.
                                                  203 North Gadsden Street
                                                  Tallahassee, Florida 32301
                                                  Telephone: (850) 383-4800
                                                  brian.finnerty@mattoxlaw.com
                                                  linette.williams@mattoxlaw.com
                                                  michelle2@mattoxlaw.com [for scheduling matters]

                                                  ATTORNEYS FOR PLAINTIFF




                                                      1
Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 92 of 164 PageID 98
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Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 98 of 164 PageID 104
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                   IN THE CIRCUIT COURT OF THE SECOND JUDICIAL CIRCUIT,
                             IN AND FOR LEON COUNTY, FLORIDA

        ERICA BRYANT,

                Plaintiff,

        v.                                                       CASE NO.: 2023-CA-001866

        BOARD OF TRUSTEES FOR
        THE UNIVERSITY OF SOUTH FLORIDA and
        FLORIDA DEPARTMENT OF EDUCATION,

                Defendants .
                                                   /


             NOTICE OF SERVICE OF PLAINTIFF'S VERIFIED ANSWERS TO DEFENDANT
                BOARD OF TRUSTEES FOR THE UNIVERSITY OF SOUTH FLORIDA'S
                              FIRST SET OF INTERROGATORIES

                Notice is hereby given that Plaintiff's Verified Answers to Defendant's First Set of

        Interrogatories have been furnished by electronic mail to counsel for Defendant, Jadie Mims,

        Constancy, Brooks, Smith & Prophete, LLP, Post Office Box 41099, Jacksonville, Florida 323203

        at jmims@constangy.com on November 21, 2023 .


                                                  Respectfully submitted,


                                                  /s/ Brian Finnerly
                                                  BRIAN FINNERTY, ESQ.
                                                  Florida Bar No.: 94647
                                                  MARIE A. MATTOX, P.A.
                                                  203 North Gadsden Street
                                                  Tallahassee, Florida 32301
                                                  Telephone: (850) 383-4800
                                                  brian.finnerty@mattoxlaw.com
                                                  linette.williams@mattoxlaw.com
                                                  michelle2@mattoxlaw.com [for scheduling matters]

                                                  ATTORNEYS FOR PLAINTIFF




                                                       1
Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 105 of 164 PageID 111
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Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 107 of 164 PageID 113
Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 108 of 164 PageID 114
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             IN THE CIRCUIT COURT OF THE SECOND JUDICIAL CIRCUIT
                       IN AND FOR LEON COUNTY, FLORIDA


        ERICA BRYANT,

              Plaintiff,

        v.                                                CASE NO.: 23-CA-1866

        BOARD OF TRUSTEES FOR THE
        UNIVERSITY OF SOUTH FLORIDA and
        FLORIDA DEPARTMENT OF EDUCATION,

              Defendants.
                                                      /


                PLAINTIFF'S NOTICE OF CANCELLATION OF TAKING
                  DEPOSITIONS VIA ZOOM VIDEO-CONFERENCE

              PLEASE TAKE NOTICE that the undersigned has cancelled the depositions

        of the following persons on January 22 and 23, 2024.


        January 22, 2024
        Deponent                Time

        Amanda Meeks            9:00 a.m.
        Matthew Wiley           10:30 a.m.
        Dinh Nguyen             11:30 a.m.
        Casey Graham            1:30 p.m.
        Janet Capps             3:00 p.m.
        Calah Smith             4:00 p.m.

        Reporter: For the Record- VIA VIDEO-CONFERENCE ZOOM
Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 113 of 164 PageID 119




  January 23, 2024
  Deponent                 Time

  Georgina Portillo        9:00 a.m.
  Alyssa Tovar             10:00 a.m.
  Jaquelin Hill            11:00 a.m.
  Shonda Goldsmith         1:00 p.m.
  Michelle Gaines          2:00 p.m.
  Melissa Ramsey           3:00 p.m.
  Casey Graham             3:30 p.m.
  Matthew Caldwell         4:00 p.m.
  Margaret Aune            4:30 p.m.

  Reporter: For the Record- VIA VIDEO-CONFERENCE ZOOM


                                        Respectfully submitted,

                                         /s/ Marie A. Mattock
                                        Marie A. Mattock [FBN 0739685]
                                        MARIE A. MATTOX, P.A.
                                        203 North Gadsden Street
                                        Tallahassee, Florida 32301
                                        Primary Email: marie(éi3mattc)xlaw.com
                                        Secondary Email: mIc*eHf:@ma.itQxlaw'.c@m
                                        (850) 383-4800 (telephone)
                                        (850) 383-4801 (facsimile)

                                        ATTORNEY FOR PLAINTIFF

                           CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been
  electronically filed with the Clerk via the Florida Courts e-Filing Portal only this
  28th day of December 2023, which will send Notification of Electronic Filing to all
  counsel of record.
                                         /s/ Marie A. Mattock
                                        Marie A. Mattock

  CC :   For the Record

                                           2
Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 114 of 164 PageID 120




            This Case has been
                Transferred
             to the Following
                             CGLlHtY:
                     Hillsboreugh
      Please DQ Not Add Any New
      Pleadings to This Case, New
      Pleadings Must be Forwarded
      to the New Location.
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Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 115 of 164 PageID 121
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Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 116 of 164 PageID 122
                                               THE HONORABLE
                                              GWEN MARSHALL
                                CLERK OF THE CIRCUIT COURT AND COMPTROLLER
                         CLERK OF COURTS COUNTY COMPTROLLER s AUDITOR TREASURER RECORDER

                                  CIVIL CUSTOMER ASSISTANCE DIVISION




 December 29, 2023

 HILLSBOROUGH COUNTY COURT CLERK COMPTROLLER
 ATTN: CIRCUIT CIVIL
 307 N MICHIGAN AVE
 PLANT CITY, FL 33563

 Re: 2023 CA 001866 .- ERICA BRYANT vs. BOARD OF TRUSTEES ETC.

 Dear Clerk:
 In accordance with the order of this Court in the above-styled cause, enclosed is the
 original file along with a certified copy of the order of transfer.
        E] Also enclosed is a check in the amount of $.00 for the transfer fee.
        8 No transfer fee was received for forwarding.
 Please receipt for the file on the enclosed copy of this letter and return to this office.
 Sincerely,
 GWEN MARSHALL
 CLERK OF THE CIRCUIT COURT


 BY:                         A
                            4/-
        DEPUTY CLERK




                                     WWW.CLERK.LEON.FL.US
                       PHONE: 850.606.4150 . (FAMILY LAW) EXT: 4170 (CIRCUIT CIVIL);
                      EXT: 4110 (COUNTY CIVIL, SMALL CLAIMS, LANDLORD TENANT)
                    301 SOUTH MONROE STREET, #100 • TALLAIIASSEE, FLORIDA 32301
Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 117 of 164 PageID 123

               IN THE CIRCUIT/COUNTY COURT OF THE THIRTEENTH JUDICIAL
                   CIRCUIT, IN AND FOR HILLSBOROUGH COUNTY, FLORIDA


  ERICA BRYANT
         Plaintiffs,
  v.                                                   Case Number: 24-CA-000448
                                                       Division I

  BOARD OF TRUSTEES FOR THE UNIVERSITY OF SOUTH FLORIDA; FLORIDA
  DEPARTMENT OF EDUCATION
         Defendants.
  ___________________________

                       DIFFERENTIATED CASE MANAGEMENT ORDER &
                         NOTICE OF CASE MANAGEMENT HEARING
                                     ON 8/27/2024 AT 1:00 PM
            (GENERAL CIRCUIT CIVIL CASES FILED AFTER APRIL 30, 2021)


          THIS CAUSE comes before the Court on review of Amendment 12 to Florida Supreme
  Court Administrative Order AOSC20-23 (the “Supreme Court Order”). The Supreme Court
  Order directs the chief judge of each circuit to issue an administrative order requiring the
  presiding judge for each civil case to actively manage civil cases in accordance with a
  differentiated case management process. Consistent with this requirement, the Chief Judge of
  the Thirteenth Judicial Circuit issued Administrative Order S-2021-060 (the “Case Management
  Plan”) on April 26, 2021.
         Accordingly, it is now
         FOUND, ORDERED, and ADJUDGED that:
  1. Designation of Case. This case is preliminarily designated as a General civil case, as
        defined by the Supreme Court Order and the Case Management Plan.

  2. Plaintiff’s Obligation to Serve DCM Order on All Defendants. Consistent with the Case
        Management Plan, this Differentiated Case Management Order & Notice of Hearing (the
        “DCM Order”) has been generated automatically upon the filing of the complaint and
        will be provided to Plaintiff along with the summons. Plaintiff is DIRECTED to serve
        the DCM Order on each and every named defendant in the same manner and at the same
        time as the complaint itself is served.

               Filed 1/18/2024 12:27:53 PM Hillsborough County Clerk of the Circuit Court
                                                                                            Page 1 of 8
Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 118 of 164 PageID 124


  3. Conformity with Supreme Court Order’s Directive. The deadlines established in this
        DCM Order are set in conformity with the Supreme Court Order’s directive that General
        civil cases be managed according to the time standards specified in Florida Rule of
        General Practice and Judicial Administration 2.250(a)(1)(B).

  4. Procedure for Modification of Deadlines. Counsel or any self-represented parties, or both,
        may seek to modify the deadlines set forth in this order by either:


         a.      Filing a motion and setting it for hearing; or

         b.      Stipulating to new deadlines and submitting an Amended Differentiated Case
                 Management Order. The Amended Differentiated Case Management Order
                 (“Amended DCM Order”) form is available under the “Forms” tab of the
                 undersigned’s page at http://www.fljud13.org. The Amended DCM Order must
                 include a date for a court-ordered case management conference (the “Court-
                 Ordered Case Management Conference”). Hearing time for the Court-Ordered
                 Case Management Conference should be secured on either a Uniform Motion
                 Calendar (“UMC”) docket or a 15-minute hearing docket.

  5. Procedure for Setting Firm Trial Date When Case is at Issue. Consistent with the
        Supreme Court Order’s mandate, the deadlines set forth in this DCM Order contemplate a
        projected trial date within the time standards specified in Florida Rule of General Practice
        and Judicial Administration 2.250(a)(1)(B). A firm trial date will be set through entry of
        a Uniform Order Setting Trial & Pretrial at the Court-Ordered Case Management
        Conference or as otherwise provided in this order.

  6. Court-Ordered Case Management Conference. It is appropriate to set a Court-Ordered
       Case Management Conference prior to the close of fact discovery to both assess the
       progress of the case and set a firm trial date.

              a. Date and Time for Court-Ordered Case Management Set Below. A date and
                 time for the Court-Ordered Case Management Conference is set below.

              b. Method of Conducting Court-Ordered Case Management Conference: The
                 Court-Ordered Case Management Conference will be conducted remotely through
                 the use of the following technology and connection instructions:

                 ZOOM link is https://zoom.us/j/7196320493 or if joining the hearing via
                 telephone Call 1-786-635-1003 or 1-470-381-2552

                 ZOOM Meeting ID number is 719-632-0493.




               Filed 1/18/2024 12:27:53 PM Hillsborough County Clerk of the Circuit Court
                                                                                            Page 2 of 8
Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 119 of 164 PageID 125

           c. Attendance Mandated. Counsel and any self-represented parties MUST
              ATTEND unless otherwise excused by the Court and must be prepared to discuss
              selection of a firm trial date and corresponding pretrial conference date and time.


           d. Process for Securing Excusal from Attending the Court-Ordered Case
              Management Conference:

                   i. Automatic Excusal.

                          1. Unless otherwise ordered by the presiding judge, counsel or any
                             self-represented parties, or both, are automatically excused from
                             attending the Court-Ordered Case Management Conference if a
                             Uniform Order Setting Trial & Pretrial (Revised April 30, 2021)
                             has been submitted to and signed by the Court at least 30 days
                             before the date of the Court-Ordered Case Management
                             Conference; and

                          2. Any party seeking to invoke this automatic excusal provision
                             should notify the judicial assistant by email sent to the division
                             email address within 3 business days of the date the Uniform Order
                             Setting Trial & Pretrial (Revised April 30, 2021) is signed.

                  ii. Discretionary Excusal.

                          1. Counsel or self-represented parties, or both, may seek a
                             discretionary excusal from the Court-Ordered Case Management
                             Conference by filing a motion and submitting an agreed proposed
                             order excusing attendance by the Court on one of the following
                             grounds:

                                 a. The Court has signed an Amended DCM Order, either by
                                    stipulation or by filing a motion and setting a hearing, AND
                                    the Amended DCM Order sets a new Court-Ordered Case
                                    Management Conference; or

                                 b. Counsel has otherwise demonstrated good cause to believe
                                    that the case is otherwise in full compliance with the
                                    Supreme Court Order’s mandate and the Case Management
                                    Plan.

           e. Failure to Attend Court-Ordered Case Management Conference. The failure
              to attend the Court-Ordered Case Management Conference may result in the case
              being set for a trial date without input of the absent counsel or self-represented
              party, or both; dismissal of the complaint without prejudice; entry of a judicial

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                default; monetary sanctions against counsel or any self-represented parties, or
                both; or any other sanctions deemed appropriate by the presiding judge.

     7. Firm Trial Date to be Set by Uniform Order Setting Trial & Pretrial (Revised April
        30, 2021). Once a firm trial date is selected, counsel will be directed to prepare and
        submit through the Florida E-Portal (the “Portal”) a Uniform Order Setting Trial &
        Pretrial (Revised April 30, 2021), which is available under the “Forms” tab of the
        undersigned’s page at http://www.fljud13.org. The Uniform Order Setting Trial &
        Pretrial (Revised April 30, 2021) will require calculation of additional deadlines in a
        specified manner.

     8. Requirement to Review and Comply with Administrative Order for Circuit Civil
        Division. Counsel and any self-represented parties are DIRECTED to review and
        comply with all provisions of the Thirteenth Circuit’s Administrative Order S-2021-014
        (Circuit Civil Division), and any successive administrative order.

     9. Certificate of Conferral for Non-Dispositive Motions.

            a. When Required. Except for a motion (i) for injunctive relief; (ii) for judgment
               on the pleadings; (iii) for summary judgment; (iv) to dismiss or to permit
               maintenance of a class action; (v) to dismiss for failure to state a claim upon
               which relief can be granted; or (vi) to involuntarily dismiss an action, before the
               moving party or moving party’s counsel files any other motion, the party or
               counsel should confer with the opposing party or opposing counsel in a good faith
               effort to resolve the issues raised by the motion. The moving party or moving
               party’s counsel should include in the body of the motion a statement certifying
               that the moving party or moving party’s counsel has conferred with the opposing
               party or opposing party’s counsel—either in person, by telephone, or by video
               conferencing device—and stating whether the party or counsel agree on the
               resolution of the motion. A certification to the effect that opposing party or
               opposing party’s counsel was unavailable for a conference before filing a motion
               should describe, with particularity, all of the efforts undertaken to accomplish
               dialogue with the opposing party or opposing party’s counsel prior to filing the
               subject motion.

            b. Cancelation of Hearing/Denial of Motion Filed Without Certificate of
               Conferral. Counsel and any self-represented parties should anticipate that a
               hearing set on a motion that lacks such a certification will be canceled and the
               motion may be denied without a hearing for failure to comply with this
               requirement.

            c. Form of Certificate of Conferral. The certificate of conferral should be
               substantially in the following form:

                Certificate of Conferral Prior to Filing

              Filed 1/18/2024 12:27:53 PM Hillsborough County Clerk of the Circuit Court
                                                                                           Page 4 of 8
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                “I certify that prior to filing this motion, I attempted to resolve the matter by
                discussing the relief requested in this motion by [date and method of
                communication (select one of the following: in person, telephone, or video
                conference)] with the opposing party or counsel and [the opposing party or
                counsel did not agree to that the motion could be resolved without the necessity of
                a hearing] OR [the opposing party or counsel did not respond and (describe with
                particularity all of the efforts undertaken to accomplish dialogue with the
                opposing party or opposing party’s counsel prior to filing the motion)].”


  10. Discovery Provisions.

            a. Fact Discovery.

                    i. All discovery must be served in time for a timely response to be received
                       prior to the deadline for completion of fact discovery.

                   ii. All non-expert witness depositions must occur prior to the deadline for
                       completion of fact discovery.

                   iii. Failure to timely complete discovery by the deadline for completion of
                        fact discovery may result in, among other things, exclusion of evidence or
                        other sanctions, or both.


            b. Expert Discovery.

                    i. Expert disclosure must occur by the deadline indicated below.

                   ii. Contemporaneous with disclosure of each expert, the disclosing party
                       must provide to all other parties:

                           1. No less than five proposed deposition dates, all of which must be
                              prior to the deadline to complete expert discovery; and

                           2. For each expert:

                                   a. Identify the expert’s area of expertise;

                                   b. Identify the subject matter on which the expert is expected
                                      to testify;

                                   c. Summarize the substance of the facts and opinions to which
                                      the expert is expected to testify; and

                                   d. Summarize the grounds for each opinion.

              Filed 1/18/2024 12:27:53 PM Hillsborough County Clerk of the Circuit Court
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                   iii. The court may preclude an expert from testifying outside of the disclosed
                        opinions.

                    iv. All expert witness depositions must be conducted prior to the deadline for
                        completion of expert discovery.

                    v. It is the responsibility of counsel to select experts who:

                            1. Are prepared to make themselves available for deposition within
                               the expert discovery period; and

                            2. Are prepared to respond promptly to requests for deposition dates.

                    vi. If an expert cannot be deposed prior to the deadline for completion of
                        expert discovery despite timely and reasonable efforts of opposing counsel
                        to secure deposition dates, that expert’s testimony may be excluded at
                        trial.

  11. Deadlines. The deadlines set forth below are ESTABLISHED and will GOVERN this case
         and will be strictly enforced by the Court. Counsel and any self-represented parties are
         DIRECTED to review, calendar, and abide by them:


                           Action or Event                                          Date

     Complaint filing date.                                                    01/04/2024

     Deadline for service of complaint.                                         5/3/2024
     [120 days after filing of complaint; see Rule 1.070(j), Fla. R.
     Civ. P.]

     Deadline for adding parties.                                               6/3/2024
     [150 days after filing of complaint; subject to Rule 1.210,
     Fla. R. Civ. P.]

     Deadline for service under extensions.                                     7/2/2024
     [180 days after filing of complaint; see Rule 1.070(j), Fla. R.
     Civ. P.]

     Court-Ordered Case Management Conference.                                 08/27/2024
     NOTE: This hearing will be conducted remotely. Please                          At
     see paragraph 6(b) for connection instructions.                            1:00 PM

              Filed 1/18/2024 12:27:53 PM Hillsborough County Clerk of the Circuit Court
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Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 123 of 164 PageID 129

     [210 days after filing of complaint.]

     Deadline for completion of fact discovery.                                9/30/2024
     [270 days after filing of complaint.]

     Deadline for filing motion to compel discovery.
                                                                              10/14/2024
     [284 days after filing of complaint.]

     Plaintiff’s expert disclosure deadline.                                  10/30/2024
     [300 days after filing of complaint.]

     Defendant’s expert disclosure deadline.                                   12/2/2024
     [330 days after filing of complaint.]

     Rebuttal expert disclosure deadline.                                     12/13/2024
     [344 days after filing of complaint.]

     Deadline for completion of compulsory medical exam, if
     applicable and requested (“CME”).
                                                                               1/28/2025
     [390 days after filing of complaint; subject to Rule
     1.360(1)(A), Fla. R. Civ. P.]

     Deadline for completion of mediation or non-binding
     arbitration.                                                              2/27/2025
     [420 days after filing of complaint.]

     Deadline for completion of expert discovery.
                                                                               2/27/2025
     [420 days after filing of complaint.]

     Month and year of the projected trial term.
     [540 days after filing of complaint; see Florida Rule of
     General Practice and Judicial Administration 2.250(a)(1)(B);              June, 2025
     firm trial date will be set by entry of a Uniform Order
     Setting Trial & Pretrial (Revised April 30, 2021).]

         ENTERED by the undersigned judge on the date imprinted below.


                                             24-CA-000448 1/18/2024 12:27:50 PM




              Filed 1/18/2024 12:27:53 PM Hillsborough County Clerk of the Circuit Court
                                                                                            Page 7 of 8
Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 124 of 164 PageID 130

                                             24-CA-000448 1/18/2024 12:27:50 PM
                                             Paul L Huey, Circuit Judge




            Filed 1/18/2024 12:27:53 PM Hillsborough County Clerk of the Circuit Court
                                                                                         Page 8 of 8
Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 125 of 164 PageID 131

               IN THE CIRCUIT/COUNTY COURT OF THE THIRTEENTH JUDICIAL
                   CIRCUIT, IN AND FOR HILLSBOROUGH COUNTY, FLORIDA

                                     24-CA-000448 Division I

  BRYANT, ERICA VS BOARD OF TRUSTEES FOR THE UNIVERSITY OF SOUTH
  FLORIDA

  LEON COUNTY 2023-CA-001866


  MARIE A MATTOX
  MARIE A MATTOX PA
  203 N GADSDEN ST
  TALLAHASSEE FL 32301


                      NOTICE OF ACKNOWLEDGMENT OF RECEIPT


  The Circuit Civil Court of Hillsborough County Florida has received the above listed case for
  transfer from LEON COUNTY the onlanuary 04, 2024. The case was assigned case number 24-
  CA-000448 Division I. If you have any questions regarding this case, please contact the
  undersigned at (813) 276-8100.
  Sincerely,

  CINDY STUART
  Clerk of the Circuit Court



  Mustafa Divan, Deputy Clerk


  cc:    Plaintiff
         Defendant




                 Filed 1/ 18/2024 2:15:35 PM Hillsborough County Clerk of the Circuit Court
Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 126 of 164 PageID 132

               IN THE CIRCUIT/COUNTY COURT OF THE THIRTEENTH JUDICIAL
                   CIRCUIT, IN AND FOR HILLSBOROUGH COUNTY, FLORIDA

                                     24-CA-000448 Division I

  BRYANT, ERICA VS BOARD OF TRUSTEES FOR THE UNIVERSITY OF SOUTH
  FLORIDA

  LEON COUNTY 2023-CA-001866


  FRANK DAMON KITCHEN
  CONSTANGY BROOKS SMITH & PROPHETE LLP
  200 W FORSYTH ST STE 1700
  JACKSONVILLE FL 32202


                      NOTICE OF ACKNOWLEDGMENT OF RECEIPT


  The Circuit Civil Court of Hillsborough County Florida has received the above listed case for
  transfer from LEON COUNTY the onJanuary 04, 2024. The case was assigned case number 24-
  CA-000448 Division I. If you have any questions regarding this case, please contact the
  undersigned at (813) 276-8100.
  Sincerely,

  CINDY STUART
  Clerk of the Circuit Court


  w              -Q
  Mustafa Divan, Deputy Clerk


  cc:    Plaintiff
         Defendant




                 Filed 1/ 18/2024 2:18:09 PM Hillsborough County Clerk of the Circuit Court
Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 127 of 164 PageID 133

               IN THE CIRCUIT/COUNTY COURT OF THE THIRTEENTH JUDICIAL
                   CIRCUIT, IN AND FOR HILLSBOROUGH COUNTY, FLORIDA

                                     24-CA-000448 Division I

  BRYANT, ERICA vs BOARD OF TRUSTEES FOR THE UNIVERSITY OF SOUTH
  FLORIDA

  LEON COUNTY 2023-CA-001866


  MALLORY BENNETT BROWN
  THOMPSON CRAWFORD BROWN & SMILEY
  1330 THOMASVILLE RD
  TALLAHASSEE FL 32303


                      NOTICE OF ACKNOWLEDGMENT OF RECEIPT


  The Circuit Civil Court of Hillsborough County Florida has received the above listed case for
  transfer from LEON COUNTY the onlanuary 04, 2024. The case was assigned case number 24-
  CA-000448 Division I. If you have any questions regarding this case, please contact the
  undersigned at (813) 276-8100.
  Sincerely,

  CINDY STUART
  Clerk of the Circuit Court



  Mustafa Divan, Deputy Clerk


  cc:    Plaintiff
         Defendant




                 Filed 1 /18/2024 2:19:41 PM Hillsborough County Clerk of the Circuit Court
Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 128 of 164 PageID 134

                   IN THE CIRCUIT/COUNTY COURT OF THE THIRTEENTH JUDICIAL
                       CIRCUIT, IN AND FOR HILLSBOROUGH COUNTY, FLORIDA

                                     Case Number: 24-CA-000448, Division I

  Bryant, Erica Vs Board Of Trustees For The University Of South Florida


  Marie A Mattox
  Marie A Mattox Pa
  203 N Gadsden St
  Tallahassee Fl 32301

                         NOTIFICATION AND/OR REQUEST FOR FEES

  We are in receipt of the transferred case.

  Check or Money Order is to be made payable to the Clerk of Court - Hillsborough County in the
  amount of $400.00 to cover the cost of filing the case.

  We also accept credit cards via phone and via web through HOVER and the Florida e-filing
  portal. Please note that credit card payments will incur a 3.5% fee.

  Dated: January 18, 2024.

  CINDY STUART
  CLERK OF THE CIRCUIT COURT
       24-CA-000448, 1/18/2024 2:21 PM
  By: _________________________
  Deputy Clerk Mustafa Divan
  24-CA-000448 1/18/2024 2:21:51 PM

  cc: Court File




          Filed 1/18/2024 2:24:10 PM Hillsborough County Clerk of the Circuit Court
   Filing Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 129 of 164 PageID 135
          # 191918282  E-Filed 02/14/2024 09:47:59 AM


                                                                   IN THE CIRCUIT COURT OF THE
                                                                   THIRTEENTH JUDICIAL
                                                                   CIRCUIT IN AND
                                                                   FOR HILLSBOROUGH COUNTY,
                                                                   FLORIDA

                ERICA BRYANT,                                      CASE NO.: 2024-CA-000448

                       Plaintiff,

                v.

                BOARD OF TRUSTEES FOR
                THE UNIVERSITY OF SOUTH
                FLORIDA and FLORIDA
                DEPARTMENT OF EDUCATION,

                       Defendant.

                ______________________________/

                                      NOTICE OF APPEARANCE,
                             NOTICE OF LEAD COUNSEL DESIGNATION AND
                                 DESIGNATION OF EMAIL ADDRESSES
                        FOR DEFENDANT, FLORIDA DEPARTMENT OF EDUCATION

                       Thomas R. Thompson of the law firm of Thompson, Crawford, Brown & Smiley,

                P.A. hereby notifies this court and the parties of his LEAD appearance on behalf of the

                Defendant, FLORIDA DEPARTMENT OF EDUCATION, in his individual capacity, and

                ask that all correspondence, pleadings, etc. directed to this Defendant be mailed to the

                undersigned at the stated address.

                Pursuant to the Florida Rules of Civil Procedure 2.516, hereby designates undersigned

                counsel’s primary electronic mail address and secondary electronic mail address for this

                proceeding as follows:




2/14/2024 9:47 AM Electronically Filed: Hillsborough County/13th Judicial Circuit Page 1
          Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 130 of 164 PageID 136




                       Primary E-Mail Address:              Thomas R. Thompson, Esq.
                                                            tom@tcslawfirm.net

                       Secondary E-Mail Address:            Rebecca R. Martin, Paralegal
                                                            rebecca@tcslawfirm.net


                DATED this 14th day of February, 2024.

                                                    THOMPSON, CRAWFORD,
                                                    BROWN & SMILEY, P.A.

                                                    /s/ Thomas R. Thompson
                                                    __________________________________
                                                    THOMAS R. THOMPSON, ESQUIRE
                                                    FLORIDA BAR NO. 890596
                                                    1330 Thomasville Road
                                                    Tallahassee, FL 32303
                                                    (850) 386-5777
                                                    Fax: (850) 386-8507
                                                    tom@tcslawfirm.net
                                                    rebecca@tcslawfirm.net
                                                    ATTORNEY FOR DEFENDANT FINCH

                                           CERTIFICATE OF SERVICE

                       I HEREBY certify that a true and correct copy of the foregoing has been sent by

                e-filing through electronic communication to ALL counsel of record on this 14th day of

                February, 2024.

                                                    /s/ Thomas R. Thompson
                                                    Thomas R. Thompson, Esq.




2/14/2024 9:47 AM Electronically Filed: Hillsborough County/13th Judicial Circuit Page 2
   Filing Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 131 of 164 PageID 137
          # 191918282  E-Filed 02/14/2024 09:47:59 AM


                                                                   IN THE CIRCUIT COURT OF THE
                                                                   THIRTEENTH JUDICIAL CIRCUIT IN
                                                                   AND FOR HILLSBOROUGH COUNTY,
                                                                   FLORIDA

             ERICA BRYANT,                                         CASE NO.: 2024-CA-000448

                    Plaintiff,

             v.

             BOARD OF TRUSTEES FOR
             THE UNIVERSITY OF SOUTH
             FLORIDA and FLORIDA
             DEPARTMENT OF EDUCATION,

                    Defendant.

             ______________________________/

                           DEFENDANT, FLORIDA DEPARTMENT OF EDUCATION’S
                          NOTICE OF TAKING PLAINTIFF’S IN-PERSON DEPOSITION

                    PLEASE TAKE NOTICE that on Wednesday, March 20, 2024, the Attorneys for the

             Defendant, FLORIDA DEPARTMENT OF EDUCATION will take the deposition of ERICA

             BRYANT, Plaintiff, beginning at 9:00 a.m. (EST) – the whole day is reserved for this deposition.

             This deposition will be held IN-PERSON facilitated by For the Record Reporting located at

             1500 Mahan Drive, Suite 140, Tallahassee, Florida 32308 upon oral examination before a notary

             public or a person duly authorized by law to take depositions in the State of Florida. The deposition

             will be taken with ALL parties appearing in-person.

                    This deposition is being taken for the purpose of discovery, for use at trial, or both of the

             foregoing, or for such other purposes as are permitted under the applicable and governing rules.

                    In compliance with the Americans with Disabilities Act of 1990, you are hereby notified that

             if you require special accommodations due to a disability, contact Thomas R. Thompson, Esquire, no




2/14/2024 9:47 AM Electronically Filed: Hillsborough County/13th Judicial Circuit Page 1
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             later than seven (7) days prior to the date your appearance is required pursuant to this notice to ensure

             that reasonable accommodations are available.

             PLEASE GOVEN YOURSELF ACCORDINGLY.

                     DATED this 14th day of February, 2024.

                                                             THOMPSON, CRAWFORD,
                                                             BROWN & SMILEY, P.A.

                                                             /s/ Thomas R. Thompson
                                                             THOMAS R. THOMPSON, ESQUIRE
                                                             Florida Bar No. 890596
                                                             1330 Thomasville Road
                                                             Tallahassee, FL 32303
                                                             (850) 386-5777
                                                             Fax: (850) 386-8507
                                                             tom@tcslawfirm.net;
                                                             rebecca@tcslawfirm.net
                                                             ATTORNEYS FOR DEFENDANT FDOE



                                               CERTIFICATE OF SERVICE

                     I HEREBY certify that a true and correct copy of the foregoing has been sent by electronic

             communication to all Counsel of record this 14th day of February, 2024.


                                                             /s/ Thomas R. Thompson
                                                             ___________________________________
                                                             THOMAS R. THOMPSON


             cc: For the Record




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   Filing Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 133 of 164 PageID 139
          # 191918830  E-Filed 02/14/2024 09:51:54 AM


                                                                  IN THE CIRCUIT COURT OF THE
                                                                  THIRTEENTH JUDICIAL CIRCUIT IN
                                                                  AND FOR HILLSBOROUGH COUNTY,
                                                                  FLORIDA

             ERICA BRYANT,                                        CASE NO.: 2024-CA-000448

                    Plaintiff,

             v.

             BOARD OF TRUSTEES FOR
             THE UNIVERSITY OF SOUTH
             FLORIDA and FLORIDA
             DEPARTMENT OF EDUCATION,

                    Defendant.

             ______________________________/

                                 NOTICE OF ADDITIONAL APPEARANCE AND
                                   DESIGNATION OF EMAIL ADDRESSES
                           FOR DEFENDANT FLORIDA DEPARTMENT OF EDUCATION

                    Mallory B. Brown, Esq. of the law firm of Thompson, Crawford, Brown & Smiley, P.A.

             hereby notifies this court and the parties of her appearance on behalf of the Defendant,

             FLORIDA DEPARTMENT OF EDUCATION, and requests that pleadings, etc. directed to this

             Defendant be mailed to the undersigned at the stated address.

                    Pursuant to the Florida Rules of Civil Procedure 2.516, hereby designates undersigned

             counsel’s primary electronic mail address and secondary electronic mail address for this proceeding

             as follows:


                    Primary E-Mail Address:               Mallory B. Brown, Esq.
                                                          mallory@tcslawfirm.net

                    Secondary E-Mail Address:             Rebecca R. Martin
                                                          rebecca@tcslawfirm.net
                                                          Victoria Bramblett
                                                          victoria@tcslawfirm.net




2/14/2024 9:51 AM Electronically Filed: Hillsborough County/13th Judicial Circuit Page 1
          Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 134 of 164 PageID 140




                    DATED this __14th__ day of February, 2024.



                                                   THOMPSON, CRAWFORD,
                                                   BROWN & SMILEY, P.A.

                                                   /s/ Mallory B. Brown
                                                   __________________________________
                                                   MALLORY B. BROWN, ESQUIRE
                                                   FLORIDA BAR NO. 124039
                                                   1330 Thomasville Road
                                                   Tallahassee, FL 32303
                                                   (850) 386-5777
                                                   Fax: (850) 386-8507
                                                   mallory@tcslawfirm.net
                                                   rebecca@tcslawfirm.net
                                                   victoria@tcslawfirm.net
                                                   ATTORNEY FOR DEFENDANT FDOE


                                                 CERTIFICATE OF SERVICE

                    I HEREBY certify that a true and correct copy of the foregoing has been sent by electronic

             filing to all counsel of record this __14th__ day of February, 2024.


                                                          /s/ Mallory B. Brown
                                                          _____________________________
                                                          Mallory B. Brown, Esq.




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   Filing Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 135 of 164 PageID 141
          # 193618680  E-Filed 03/08/2024 12:16:01 PM


                                                                 IN THE CIRCUIT COURT OF THE
                                                                 THIRTEENTH JUDICIAL CIRCUIT IN
                                                                 AND FOR HILLSBOROUGH COUNTY,
                                                                 FLORIDA

             ERICA BRYANT,                                       CASE NO.: 2024-CA-000448

                    Plaintiff,
             v.

             BOARD OF TRUSTEES FOR
             THE UNIVERSITY OF SOUTH
             FLORIDA and FLORIDA
             DEPARTMENT OF EDUCATION,

                   Defendants.
             ______________________________/

                            DEFENDANT FLORIDA DEPARTMENT OF EDUCATION’S
                                      NOTICE OF CANCELLATION OF
                                  IN-PERSON DEPOSITION OF PLAINTIFF

                    PLEASE TAKE NOTICE that the deposition of PLAINTIFF, ERICA BRYANT set at 9:00

             a.m. EST, Wednesday, March 20, 2024, before For the Record Corut Reporting, located at 1500

             Mahan Drive, Suite 140, Tallahassee, Florida 32308, has been CANCELLED and WILL BE

             RESCHEDULED AT A LATER DATE; as Plaintiff is filing an Amended Complaint in this

             matter.

                            DATED this 8th day of March, 2024.

                                                       THOMPSON, CRAWFORD,
                                                       BROWN & SMILEY, PA

                                                       /s/ Thomas R. Thompson
                                                       __________________________________
                                                       THOMAS R. THOMPSON, ESQUIRE
                                                       FLORIDA BAR NO. 890596
                                                       1330 Thomasville Road
                                                       Tallahassee, FL 32303
                                                       (850) 386-5777/ Fax: (850) 386-8507
                                                       tom@tcslawfirm.net
                                                       rebecca@tcslawfirm.net




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                                                      ATTORNEY FOR DEFENDANT FDOE
                                              CERTIFICATE OF SERVICE

                    I HEREBY CERTIFY that a copy of the foregoing has been furnished by Electronic Filling

             to all counsel of record on this 8th day of March, 2024.


                                                            /s/Thomas R. Thompson
                                                            _____________________________
                                                            Thomas R. Thompson, Esq.


             cc: For the Record Court Reporting




3/8/2024 12:16 PM Electronically Filed: Hillsborough County/13th Judicial Circuit Page 2
   Filing Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 137 of 164 PageID 143
          # 193654284  E-Filed 03/08/2024 04:21:14 PM


                                                                                  IN THE CIRCUIT COURT OF THE
                                                                                  THIRTEENTH JUDICIAL
                                                                                  CIRCUIT, IN AND FOR
                                                                                  HILLSBOROUGH COUNTY,
                                                                                  FLORIDA

             ERICA BRYANT,

                                 Plaintiff,

             v.                                                                   CASE NO. 2024-CA-000448

             BOARD OF TRUSTEES FOR THE
             UNIVERSITY OF SOUTH FLORIDA1 and
             FLORIDA DEPARTMENT OF EDUCATION,

                                 Defendants.
                                                                              /

                       NOTICE OF APPEARANCE AND DESIGNATION OF EMAIL ADDRESSES

                        COME NOW, F. Damon Kitchen, Esq. and Jadie R. Mims, Esq., of the law firm of

             Constangy, Brooks, Smith & Prophete, LLP, 200 West Forsyth Street, Suite 1700, Jacksonville,

             FL 32202, and hereby enter their Notice of Appearance as counsel for Defendant, UNIVERSITY

             OF SOUTH FLORIDA BOARD OF TRUSTEES, in the above-referenced case.

                                              DESIGNATION OF E-MAIL ADDRESSES

                        Pursuant to Florida R. Gen. Prac. & Jud. Admin. 2.516, F. Damon Kitchen, Esq., and Jadie

             R. Mims, Esq., hereby designate the following email addresses for use in this case:

                        Primary Email Address:     dkitchen@constangy.com
                        Secondary Email Addresses: cfarrell@constangy.com
                                                   jacksonville@constangy.com

                        Primary Email Address:     jmims@constangy.com
                        Secondary Email Addresses: sgrayson@constangy.com
                                                   jacksonville@constangy.com




             1
                 Defendant’s proper name in the State of Florida is the University of South Florida Board of Trustees.


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             DATED this 8th day of March, 2024.

                                                                   Respectfully submitted,

                                                                   CONSTANGY, BROOKS, SMITH,
                                                                   & PROPHETE, LLP
                                                                   200 W. Forsyth St., Ste. 1700
                                                                   Jacksonville, Florida 32202
                                                                   Telephone: (904) 356-8900
                                                                   Facsimile: (904) 356-8200

                                                                   By:     Jadie Mims
                                                                           F. Damon Kitchen, Esq.
                                                                           Florida Bar No. 861634
                                                                           dkitchen@constangy.com
                                                                           Jadie R. Mims, Esq.
                                                                           Florida Bar No.: 1002318
                                                                           jmims@constangy.com

                                                                   Attorneys for Defendant, University of South
                                                                   Florida Board of Trustees



                                              CERTIFICATE OF SERVICE

                     I HEREBY CERTIFY that on the 8th day of March, 2024, a copy of the foregoing has been

             filed with the Clerk of Court through the Florida E-filing Portal, and sent via e-mail to all counsel

             of record.


                                                                   By:     Jadie Mims
                                                                           F. Damon Kitchen, Esq.
                                                                           Jadie R. Mims, Esq.

                                                                   Attorneys for Defendant, University of South
                                                                   Florida Board of Trustees




                                                              2
             10876046v1



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   Filing Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 139 of 164 PageID 145
          # 193659768  E-Filed 03/08/2024 04:57:27 PM


                                                                                  IN THE CIRCUIT COURT OF THE
                                                                                  THIRTEENTH JUDICIAL
                                                                                  CIRCUIT, IN AND FOR
                                                                                  HILLSBOROUGH COUNTY,
                                                                                  FLORIDA
             ERICA BRYANT,

                                 Plaintiff,

             v.                                                                   CASE NO. 2024-CA-000448

             BOARD OF TRUSTEES FOR THE
             UNIVERSITY OF SOUTH FLORIDA1 and
             FLORIDA DEPARTMENT OF EDUCATION,

                                 Defendants.
                                                                              /

                            JOINT NOTICE OF ZOOM HEARING ON DEFENDANTS’ THREE
                             PENDING MOTIONS TO DISMISS PLAINTIFF’S COMPLAINT

                        PLEASE TAKE NOTICE that on Monday, April 1, 2024, at 10:00 a.m. EDT, the

             undersigned attorneys will call up for hearing, before the Honorable Paul L. Huey, Circuit Court

             Judge, Thirteenth Judicial Circuit, in and for Hillsborough County, Florida, the three (3) Motions

             to Dismiss2 identified below:

                        1. Defendant, Florida Department of Education’s Motion to Dismiss Plaintiff’s
                           Complaint;

                        2. Defendant, University of South Florida Board of Trustees’ (“USFBOT”), Motion to
                           Dismiss Counts I and III Plaintiff's Complaint, and Supporting Memorandum of Law;
                           and

                        3. Defendant, USFBOT’s, Motion to Dismiss Count II of Plaintiff's Complaint, for Failure
                           to State a Cause of Action, and Supporting Memorandum of Law.3



             1
                 Defendant’s proper name in the State of Florida is the University of South Florida Board of Trustees.
             2
              All three Motions referenced above were initially filed in the Circuit Court, Second Judicial Circuit, in and for Leon
             County, Florida, on October 2, 2023. However, the case was recently transferred to the Thirteenth Judicial Circuit, in
             and for Hillsborough County, and the Motions have only been pending before this Court since January 4, 2024.
             3
              Because this Motion was initially filed in Leon County, it captioned Defendant, USFBOT’s “Motion to Dismiss
             Plaintiff's Complaint for Improper Venue, Motion to Dismiss Count II of Plaintiff's Complaint for Failure to State a
             Cause of Action, and Supporting Memorandum of Law.” However, because the Motion to Dismiss for Improper



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             Thirty (30) minutes have been reserved for the hearing, which has been set on the Court’s

             Uniform Motion Calendar.

                     The Hearing will be held via Zoom, with attorneys for all Parties attending remotely.

             Login instructions to the Court’s Audiovisual Conferencing platform are provided below:

                                 Join Zoom         Via Audiovisual Conference:
                                 Meeting                 https://zoom.us/j/7196320493

                                                   Via Telephone:
                                                          1-786-635-1003; or
                                                          1-470-381-2552
                                 Meeting ID        719-632-0493
                                 Passcode          N/A

                     If you are a person with a disability who needs any accommodation in order to participate

             in this proceeding, you are entitled, at no cost to you, to the provision of certain assistance. Please

             contact Court Administration not later than seven (7) days prior to the scheduled hearing date. If

             you are hearing or voice impaired, please call 1-800-955-8771.

                     PLEASE GOVERN YOURSELF ACCORDINGLY.

                     DATED this 8th day of March, 2024.




                                 This space intentionally left blank; signatures and Certificates
                                        of Service and Consultation on following page.




             Venue was granted in Leon County, only the Motion to Dismiss Count II of Plaintiff’s Complaint, for Failure to State
             a Cause of Action, will be argued before the Court.

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             Respectfully submitted,

              Thompson, Crawford, Brown & Smiley, P.A.           Constangy, Brooks, Smith & Prophete, LLP
              1330 Thomasville Road                              Post Office Box 41099
              Tallahassee, FL 32303                              Jacksonville, Florida 32203
              Telephone:     (850) 386-5777                      Telephone:     (904) 356-8900
              Facsimile:     (850) 386-8507                      Facsimile:     (904) 356-8200

              By: /s/ Thomas R. Thompson                         By: /s/ Jadie Mims
                   Thomas R. Thompson, Esq.                          F. Damon Kitchen, Esq.
                   Florida Bar No. 890596                            Florida Bar No. 861634
                   tom@tcslawfirm.net                                dkitchen@constangy.com
                   Mallory B. Brown, Esq.                            Jadie R. Mims, Esq.
                   Florida Bar No. 124039                            Florida Bar No. 1002318
                   mallory@tcslawfirm.net                            jmims@constangy.com

              Attorneys for Defendant, Florida Department        Attorneys for Defendant, University of
              of Education                                       South Florida Board of Trustees



                                             CERTIFICATE OF SERVICE
                     I HEREBY CERTIFY that on this 8th day of March, 2024, a copy of the foregoing has

             been filed with the Clerk of Court through the Florida E-filing Portal, and furnished via email to

             all counsel of record.

                                                          By: /s/ Jadie Mims
                                                                F. Damon Kitchen, Esq.
                                                                Jadie R. Mims, Esq.

                                                                 Attorneys for Defendant, University of South
                                                                 Florida Board of Trustees


             cc:     Court Reporter


                                        CERTIFICATE OF CONSULTATION
                     Pursuant to Paragraph No. 12(D) of Admin. Order S-2024-021, counsel for Defendants

             certify that: “The above hearing has been cleared with opposing counsel’s calendar on

             Wednesday, March 6, 2024.”


                                                             3
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Filing Case 8:24-cv-00716-JSM-UAM Document 1-1 Filed 03/21/24 Page 142 of 164 PageID 148
       # 193785040  E-Filed 03/11/2024 11:53:55 PM


                                                              IN THE CIRCUIT COURT OF THE
                                                              THIRTEENTH JUDICIAL CIRCUIT,
                                                              IN AND FOR HILLSBOROUGH
                                                              COUNTY, FLORIDA

        ERICA BRYANT,                                         CASE NO.: 24-CA-000448
                                                              FLA BAR NO.: 0739685
               Plaintiff,

        v.

        BOARD OF TRUSTEES FOR THE
        UNIVERSITY OF SOUTH FLORIDA and
        FLORIDA DEPARTMENT OF EDUCATION,

              Defendants.
        ________________________________________/

                                           AMENDED COMPLAINT

               Plaintiff, ERICA BRYANT, hereby sues Defendants, BOARD OF TRUSTEES FOR THE

        UNIVERSITY OF SOUTH FLORIDA, and FLORIDA DEPARTMENT OF EDUCATION

        alleges:

                                          NATURE OF THE ACTION

               1.      This is an action brought under Chapter 760, Florida Statutes, 42 U.S.C. § 2000e et

        seq., 42 U.S.C. § 1981a, and the Florida Whistleblower Act codified in Chapter 112, Florida

        Statutes.

               2.      Jurisdiction of this Court is invoked pursuant to 28 U.S.C. § 1331 (federal question

        jurisdiction) and 28 U.S.C. § 1343 (civil rights claim jurisdiction).

               3.      This action involves claims which are, individually, in excess of Fifty Thousand

        Dollars ($50,000.00), exclusive of costs and interest.
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                                           THE PARTIES

         4.      At all times pertinent hereto, Plaintiff, ERICA BRYANT, has been a resident of the

  State of Florida and was jointly employed by Defendants. Plaintiff is a member of a protected class

  due to her race. Plaintiff is a protected whistleblower due to her objecting to and/or refusing to

  participate in practices of Defendant that were in violation of matters set forth in §112.3187(5),

  Florida Statutes. Plaintiff was retaliated against after reporting Defendant’s unlawful employment

  practices.

         5.      At all times pertinent hereto, Defendant, BOARD OF TRUSTEES OF THE

  UNIVERSITY OF SOUTH FLORIDA, has been organized and existing under the laws of the

  State of Florida. At all times pertinent to this action, Defendant has been an “employer” as that

  term is used under the applicable laws identified above. Defendant was Plaintiff’s employer as it

  relates to these claims and she was jointly employed with the Florida Department of Education.

         6.      At all times pertinent hereto, Defendant, FLORIDA DEPARTMENT OF

  EDUCATION, has been organized and existing under the laws of the State of Florida. At all times

  pertinent to this action, Defendant has been an “employer” as that term is used under the applicable

  laws identified above. Defendant was Plaintiff’s employer as it relates to these claims and she was

  jointly employed with the Board of Trustees of the University of South Florida.

                                   CONDITIONS PRECEDENT

         7.      Plaintiff has satisfied all conditions precedent to bringing this action.




                                                    2
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                            STATEMENT OF THE ULTIMATE FACTS

         8.        Plaintiff, an African American female and protected whistleblower, began her

  employment with Defendants 1 on or about February 18, 2022, and held the position of Federal

  Program Specialist at the time of her wrongful termination on June 21, 2022.

         9.        Despite her stellar work performance during her employment with Defendant,

  Plaintiff was subjected to disparate treatment, different terms and conditions of employment, and

  held to a different standard because of her race, and because she reported Defendant’s unlawful

  employment activities and was subjected to retaliation thereafter.

         10.       The disparate treatment and retaliation came at the hands of specifically but not

  limited to Assistant to Vice Chancellor Amanda Meeks, a white female; Acting Title I Pt. A

  (TIPA) Director Matthew Wiley, a white male; and Acting Bureau of Federal Educations of

  Programs (“BFEP”) Chief Dinh Nguyen, a non-Black person of color.

         11.       Plaintiff was only employed with Defendant for a few months, but within that

  time she was awarded “employee of the month” within her first month of employment because

  of her exemplary service. Notably, Casey Graham, a white female, and high-level employee of

  the Defendant, informed Plaintiff that she would have again received this award during her

  second month of employment had the Defendant not discontinued the practice. Plaintiff did not

  receive any formal reprimands during her employment. Unfortunately, Plaintiff was not allowed

  the opportunity to receive an evaluation, as Nguyen and Wiley informed her that she had not

  been employed long enough to receive one. Nonetheless, Plaintiff completed her job duties

  without error.




         1
             Reference to the term “Defendant” refers to both Defendants.
                                                    3
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          12.     During her employment, Plaintiff was subjected to disparate treatment due to her

  race. Examples include but are not limited to: Plaintiff being publicly and commonly reprimanded

  for Nguyen’s misunderstandings, Plaintiff constantly being micromanaged and observed by

  supervisory staff to include Wiley, Caldwell, and Nguyen, Plaintiff being left out of meetings

  pertinent to her work duties, and Plaintiff being denied the opportunity to work from home,

  whereas white employees such as Casey Graham and Meeks were allowed this privilege at their

  discretion. In fact, Meeks specifically denied Plaintiff’s legitimate request to do so. Also, Plaintiff

  was forced to train new hires without herself having proper training, despite supervisors such as

  but not limited to Wiley having minimal responsibilities and enough time to conduct said training.

          13.     Contrary to the treatment Plaintiff received, white and some non-black employees

  of color, namely Graham, received favorable treatment from Wiley and were continually

  prioritized over Plaintiff.

          14.     Plaintiff witnessed other African American employees be reprimanded and/or

  subjected to a hostile work environment whereas white employees were not. An example includes

  but is not limited to: Calah Smith, who was hired a week before Plaintiff and fired soon thereafter

  for questioning Defendant’s work from home policy and requesting an explanation for the denial

  of her request to work from home as it related to her serious medical/disabling condition.

  Specifically, Smith was diagnosed with cancer and experienced several home break-ins, in which

  she was physically harmed, information known to Defendant. Georgina Portillo, an Afro-Latina

  female, was also denied work from home privileges after her legitimate request. Notably, Meeks

  also denied both Smith’s and Portillos’s request to telework and or participated in the denials.

          15.     Another example includes Program Specialist Jacqueline Hill, an African American

  female, who was purposely excluded from team meetings and trainings which provided relevant



                                                    4
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  information to her job duties. Plaintiff would also experience this ostracizing behavior on multiple

  occasions.

         16.     Alyssa Tovar, a Hispanic employee, received minimum training after being hired,

  as Wiley purposefully failed to provide it. The majority of the training Tovar received came from

  Plaintiff and Calah Smith who were not in a position requiring them to do so, however, they

  provided it to assist Tovar. Plaintiff later learned that Wiley and Nguyen had been taking advantage

  of Tovar’s work time, assigning her non-related work tasks which impeded her normal job duties.

         17.     Similar to Tovar, Nguyen also attempted to assign Plaintiff duties outside of her

  scope of work. Nguyen informed Plaintiff that he wanted the Bureau Chief position, and further

  advised Plaintiff to do as she was told so that she could secure a permanent position with

  Defendant, as “everyone” he recommends gets hired.

         18.     Similar to Plaintiff’s exposure to disparate treatment relating to her race, Tovar was

  appointed as translator for Spanish content, without her approval and at least due in part to her

  Hispanic origin. Nguyen initiated this appointment and announced it at an employee meeting.

  Unbeknownst to Tovar, she had to be certified to be a translator and by not having this certification,

  she would be liable for any mistranslations. Once becoming aware of this information, Tovar

  protested this title and thereafter experienced ostracizing and retaliatory behavior from Nguyen

  who stated, “If I don’t like you, I will not address or speak to you.”

         19.     On one occasion, Plaintiff witnessed Wiley falsely state that African American

  employees such as Calah Smith and Jaqueline Hill left employment with Defendant due to low job

  performance. Plaintiff knew this to be untrue and objected to these false statements.

         20.     Plaintiff also witnessed Former Interim TIPA Director Shonda Goldsmith, an

  African American female, being treated unfairly due to her race, which prohibited her from being



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  chosen for a position left vacant for over a year. By way of example, Goldsmith was wrongfully

  informed that the master’s degree she had was not the correct one for the position she was applying

  for whereas Wiley held a comparable position and did not have a master’s degree at all.

         21.     During Plaintiff’s employment, at least nine non-white females were forced to

  resign or fired during Plaintiff’s employment. Each employee cited the hostile work environment

  as the catalyst for their consecutive departures, with multiple specifying that these acts came from

  Meeks and/or Capps.

         22.     In or about March 2022, the former Bureau Chief Michelle Gaines, an African

  American female, left her employment with Defendant. Thereafter, Plaintiff observed a decline in

  positive or friendly interactions within the workspace. Notably, by default, Nguyen was the next

  personnel in charge.

         23.     Following Gaines’ departure, Meeks made contradictory statements insinuating

  that she does not know what she is doing (pertaining to her job responsibilities), and that she does

  not have the authority to give clear directives or guidance but would blatantly state that she “knows

  enough to be dangerous” multiple times. Plaintiff understood these statements to be intimidating,

  as Meeks’ position was created by former Vice Chancellor Melissa Ramsey, a white female, using

  entitlement program funds. Plaintiff believed this to be a demonstration of active and open quid

  pro quo.

         24.     Furthermore, Meeks held one of six positions which were not legitimate hires, as

  the individuals did not have the proper education, experience, or knowledge which would normally

  be required. Notably, each of these six unqualified position holders were non-Black. Additionally,

  Meeks would place her “friends and associates” into key roles that qualified professionals were




                                                   6
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  not considered for. By way of example only, Wiley, Caldwell, Nguyen, Capps, and Graham, were

  each appointed to their positions through affiliation with Meeks.

          25.     In fact, Caldwell was never formally introduced to Plaintiff’s department after

  being hired. Plaintiff only learned of his position once she started escalating her work from home

  requests for reconsideration. Only then did Plaintiff learn that Caldwell was the USF Liaison, at

  which point Plaintiff opted not to include him on her requests, as he was affiliated with Meeks and

  Plaintiff feared retaliation.

          26.     Based on information and belief, complaints against Meeks have been brought by

  Local Educational Agencies (LEA) and the Office of Grant Management (OGM) regarding her

  incompetence, as well as the incompetence of those she has put in positions as they do her bidding.

  Nonetheless, Meeks has continued to retain employment with Defendant.

          27.     On or about March 30, 2022, Meeks began to make orders which were later

  reversed by the new Chancellor and Vice Chancellor. Specifically, Meeks ordered the flagging of

  any LEA district Amendments that mentioned what was perceived as Critical Race Theory (CRT)

  in their curriculum or Social Emotional Learning. Meeks mentioned that she would not approve

  any amendments with those listed or mentioned in their amendments. This was done without

  statute or policy to support her denials, and this resulted in some districts being negatively affected

  by her actions without an explanation.

          28.     Wiley flagged anything that spoke about equality or inequality in America, stating

  that he was the “guru” for CRT and that upper management comes to him for expertise on the

  matter. Wiley, however, made insensitive comments regarding race, such as going to Casey

  Graham, a white female, for his “go-to for Black culture” because she is married to a Black man

  despite Defendant employing several Black women.



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         29.     In or around this time, Wiley began meeting with Casey Graham, Nguyen, USF

  Liaison Matthew Caldwell, Director Janet Capps, and Meeks. After one meeting, Wiley began

  spreading rumors that Meeks was grooming himself and Graham for TIPA leadership roles, which

  eventually occurred. Wiley also began informing new hires, including Plaintiff, that he was

  looking to see which employee would compete to be his favorite, prior to his position appointment.

         30.     Following her denial of her telework request, in or around April 2022, Plaintiff

  escalated the denial to HR Laura Sorrentino, a white female, for additional consideration. This

  request was eventually denied.

         31.     Thereafter, Plaintiff observed Meeks and Nguyen being cc’d on emails sent to

  Plaintiff by Sorrentino and Nguyen began speaking to Plaintiff in an unpleasant tone, falsely

  accusing her of not working and being late to work. Additionally, Meeks began displaying passive

  aggression during meetings and other interactions in which she would stare at Plaintiff in an

  attempt to gain her attention and intimidate her through facial expressions. Also, Nguyen started

  micromanaging Plaintiff and watching her as she worked, presumably to find evidence for

  reprimand and discipline.

         32.     On May 3, 2022, Plaintiff submitted a second request to newly appointed USF Vice

  Chancellor Margaret Aune and Nguyen for reconsideration of her telework request. The purpose

  was to further discuss the circumstances behind Plaintiff's request to telework and explore potential

  alternative options. During this meeting, Aune commended Plaintiff for her passion for working

  with children and families.

         33.     Plaintiff was later approved for Flex-time as an accommodation by Aune.

         34.     Immediately following this meeting, Nguyen sent out an email requesting all

  employees to submit all pre-approved leave forms to him.



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         35.     In or around this time, Tovar overheard Meeks ranting to Nguyen about her not

  being allowed in Plaintiff’s meetings with Aune. Meeks then thanked Nguyen for compiling the

  excel sheet. Meeks then stated something akin to, “(Aune) said that we (Meeks and Nguyen) can’t

  deny them their accrued time, it is theirs to use.” Meeks then stated that it was a very critical time

  as applications were due and must be reviewed by the deadline, additionally stating, “this will not

  look good when it comes time to renew her contract.”

         36.     Former employee Vashalice Kaaba also informed Plaintiff that she observed Meeks

  circling the floor while Plaintiff was in meeting with Aune.

         37.     Sometime later, the Bureau of Federal Education Programs (“BFEP”) was

  conducting a Federal Audit by the USDOE. Correspondingly, Nguyen and Wiley were pressuring

  new hires, including Plaintiff, to sign off on PSES documentation, as well as other reports, despite

  these new employees not being employed at the time the reports were written. Capps was in charge

  of collecting and ensuring the district’s PSES data was accurate.

         38.     The PSES document is very technical and difficult to understand. Only experienced

  professionals should conduct approval and review for this document, as the USDOE may audit the

  districts outlined in the case of funds being mishandled. The employee who approves this

  information will be held directly responsible for any inaccuracies.

         39.     Plaintiff was out of work from May 31, 2022, to June 3, 2022, and provided a

  doctor’s note as an excused absence.

         40.     On or around June 8, 2022, Capps sent an email to Wiley, advising that Plaintiff

  needed to complete documentation for the PSES, in which she was not properly trained to review

  and did not understand, information known to Defendant. Plaintiff responded in writing that she

  could not sign nor take responsibility for the approval of that information. In response, Wiley



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  initiated a meeting between himself, Capps, and Plaintiff, during which Plaintiff’s concerns about

  not being properly trained for a job of that magnitude were disregarded.

          41.    Again, on or around June 14, 2022, Capps sent a follow-up email to Wiley, insisting

  that Plaintiff complete documentation for the PSES, which Plaintiff again protested.

  Correspondingly, Wiley scheduled a second meeting for the following day, which then included

  Nyugen.

          42.    On or around June 15, 2022, during the meeting initiated by Defendant, Plaintiff

  participated in whistleblowing activity, by way of reported her concerns relating to supervisors

  pressuring her into signing documents that she was not qualified nor trained to sign relating to the

  PSES.

          43.    Plaintiff additionally sent an email flagged as very important to Aune, with the

  subject, “Request For A Meeting.” Within this email Plaintiff again reported her concerns relating

  to supervisors pressuring her into signing documents that she was not qualified nor trained to sign.

          44.    Aune acknowledged Plaintiff’s email and stated that she would schedule a time in

  the near future to meet, however this never happened.

          45.    Immediately following the scheduled meeting for that day, Wiley approached

  Plaintiff’s desk attempting to initiate small talk. Plaintiff then informed Wiley that he should leave

  her alone, because she “can’t in good conscience put her (Plaintiff) name and approval to a federal

  document that I don’t understand or agree with.” Wiley responded, “this is why we are meeting

  with Janet Capps.” Plaintiff then reiterated that the previously arranged meetings did not provide

  her with any clarity and any subsequent meetings would also be useless. After Wiley mentioned

  that Nguyen was present at the meeting, Plaintiff asked why the other new hires were not included,

  in which Wiley responded “No, they don’t need to be in there. This isn’t that type of meeting, and



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  we shouldn’t be having this discussion here. (Plaintiff’s workspace)” Plaintiff was then instructed

  that she needed to do her job by Wiley who spoke loudly and confrontationally.

         46.     The conversation proceeded with Plaintiff reminding Wiley that he previously

  informed her “not to review applications without reviewing and approving the PSES document”

  further stating that she completed all of her application reviews which Wiley approved.

         47.     Following this conversation, Plaintiff requested a neutral party of her choosing to

  be included in the next meeting. Plaintiff then initiated contact with Data Specialist Valarie Henry,

  an African American female, who she asked to sit in as her advocate at the meeting. Upon seeing

  Plaintiff and Henry conversing, Wiley ran into the conference room and then shortly after informed

  Plaintiff that the meeting would be rescheduled.

         48.     Despite Wiley’s assurances that he had completed the PSES documentation for the

  previous year, Wiley did not validate his claim by proving that he understood the information

  within the documentation. Plaintiff later learned that Wiley never completed the review of the

  PSES document.

         49.     Employees including Hill, Valerie Henry, and Shonda Goldsmith, all African

  American females, confirmed that Wiley and Casey Graham did not complete the PSES review as

  they did not understand it. Notably, Henry was purposely excluded from pertinent meetings

  regarding PSES and other data subject meetings, despite having the best working knowledge of

  PSES and data knowledge. Henry advised on multiple occasions not to have the new hires attempt

  to complete and approve the PSES without proper training as she stated it would take several years

  to learn PSES, and the new hires had only been there for less than six months. Moreover, Miley,

  Graham, and other employees from management asked Henry to train them on PSES, due to them

  not knowing the information and still wanting to train new hires. In fact, when training proved to



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  be too difficult, Wiley stated that he will “just have the new hires do it” in reference to James

  Glover, Calah Smith, Alyssa Tovar, and Plaintiff, all new hire of whom are not white employees.

         50.     On June 16, 2022, Wiley was late arriving to work or did not show up at all and

  missed the previously scheduled meeting with Plaintiff. This behavior was typical for Wiley,

  however, he was not reprimanded, whereas African American employees would be disciplined for

  doing this.

         51.     Later that day, Plaintiff witnessed Caldwell, the USF Liaison, actively looking into

  her cubicle. Prior to this incident, Plaintiff never had any meaningful interactions with Caldwell

  and felt that this observation was a specific and targeted event.

         52.     On or about June 21, 2022, Plaintiff observed Nguyen being noticeably friendly to

  her and perceived this as being strange. Thereafter, and upon returning to her desk from an

  impromptu meeting, Plaintiff was approached by Chief of Security Dan Saunders, a white male,

  who was accompanied by the Captain of Security FNU, an African American female, who stated

  that she was there because Defendant thought things “might get out of hand” or something similar

  to. Saunders ordered Plaintiff to shut down her computer, without much reasoning, as she was

  being fired.

         53.     During this encounter, Saunders stepped closely to Plaintiff as she began to retrieve

  her personal items which were not owned by Defendant, later insisting that he walk Plaintiff to her

  car. Plaintiff consistently denied these offers and eventually found a friendly and unbiased

  colleague to assist her in bringing her belongings to her car. Plaintiff was wrongfully terminated

  days after renewing her employment contract with Defendant. Plaintiff was first told that this

  abrupt change in position was due to Plaintiff’s recent poor work ethic, but that there was “no

  cause” and she could be considered for re-employment.



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         54.     Plaintiff contends that the real reason she was terminated was not legitimate and

  used as a cover-up for race discrimination, retaliation against Plaintiff for her reporting of race

  discrimination and for participating in whistleblowing activities.

         55.     This termination came as a surprise to Plaintiff, as Capps stated more than once that

  Plaintiff was doing such a great job, and that “it was as if you (Plaintiff) were made for the

  position.”

         56.     Former employee Calah Smith was also escorted off of the premises in the same

  manner as Plaintiff on the day she was terminated. Additionally, Plaintiff was specifically named

  in Calah Smith’s discrimination lawsuit versus Defendant as a witness.

         57.     Shortly before her termination, Plaintiff attempted to take a pay decrease for a

  separate position outside of her former department, with employee Dr. Hilal Peker who was

  interested in having Plaintiff work for her and provided a recommendation. During her initial

  inquiry for position change, Plaintiff communicated to Georgina Portillo that she was looking to

  relocate due to the unfavorable work environment. Plaintiff submitted an application for this

  position on June 17, 2022. Regrettably, in retaliation for her participation in whistleblowing

  activity and/or in continued discrimination based on her protected class, Plaintiff’s application was

  not considered, despite assurances that she would be reappointed. Based on information and belief,

  Nyugen was at least in part responsible for this.

         58.     In the days that followed her termination, Plaintiff emailed Aune outlining many of

  the abovementioned instances of discrimination and retaliation, in addition to pointing out Aune’s

  lack of corrective action. Regrettably, Plaintiff never received a response from Aune.

         59.     Based on information or belief, Aune and Meeks shared a common assistant, Bailey

  l/n/u, who could have intercepted the email response.



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         60.     At some point after Plaintiff sent the abovementioned email, Plaintiff received a

  phone call from a Defendant's employee during which she was subjected to belittlement and

  aggressive language. The employee questioned her about her allegations regarding whistleblowing

  disclosures, race discrimination, the absence of corrective action and Defendant’s lack of proper

  chain of command. Still, no corrective action resulted.

         61.     Prior to Plaintiff’s employment period, Defendant employed Anitra Noah, an

  African American female, who received comparable treatment to Plaintiff after requesting work

  from home approval. By way of example, Noah contracted COVID-19 shortly after informing

  Defendant that her children were diagnosed as positive. Regrettably, Defendant neglected to

  provide Noah work from home status during the interim, and eventually terminated her for

  frivolous reasons after she reported the disparate treatment to Defendant.

         62.     Plaintiff has retained the undersigned to represent her interests in this cause and is

  obligated to pay a fee for these services. Defendant should be made to pay said fee under the laws

  referenced above.

                                      COUNT I
                         PUBLIC WHISTLEBLOWER RETALIATION

         63.     Paragraphs 1 through 62 above are incorporated herein by reference.

         64.     This count sets forth a claim against Defendant under §112.3187, et seq., Florida

  Statutes.

         65.     Plaintiff was a public employee protected under the provisions of Chapter 112,

  Florida Statutes.

         66.     As stated more specifically in part above, Plaintiff reported and disclosed

  violations of rules, regulations and laws, and/or malfeasance, misfeasance and/or gross

  misconduct to persons both inside and outside of her normal chain of command, and to others


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  having the authority to investigate, police, manage and otherwise remedy the violations of rules,

  regulations and laws that she reported. Plaintiff also disclosed this information when she

  participated in investigations, hearings, or other agency inquiries. Plaintiff reported malfeasance,

  misfeasance, and other acts specifically outlined in §112.3187(5), Florida Statutes.

          67.     After reporting these matters and/or participating in investigations, hearings, or

  other agency inquiries, as related in part above, Plaintiff was the victim of retaliatory actions set

  forth in part above including without limitation her termination.

          68.     Plaintiff’s termination and not being hired into another department with

  Defendant was causally related to reporting violations of rules, regulations or laws, and/or her

  reporting malfeasance, misfeasance or gross misconduct, and/or her participating in

  investigations, hearings or other inquiries, specified in part above.

          69.     The actions of all employees within Defendant who affected Plaintiff’s

  employment adversely did so at least in part in retaliation against her for her "whistleblowing"

  activities.

          70.     As a direct and proximate result of the actions taken against her by Defendant,

  Plaintiff has suffered injury, including but not limited to past and future wage losses, loss of

  benefits, emotional pain and suffering, loss of the capacity for the enjoyment of life and other

  tangible and intangible damages. These damages have occurred in the past, are occurring at

  present and will occur in the future. Plaintiff is entitled to injunctive relief.


                                            COUNT II
                                      RACE DISCRIMINATION

          71.     Paragraphs 1 through 62 are re-alleged and incorporated herein by reference.


          72.     This is an action against Defendant for discrimination based upon race.


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          73.     Plaintiff has been and continues to be the victim of discrimination on the basis of

  her race in that she was treated differently than similarly situated employees of Defendant who are

  white and non-black, and Plaintiff has been subject to hostility and poor treatment on the basis, at

  least in part, of her race.

          74.     Defendant is liable for the differential treatment and hostility towards Plaintiff

  because it controlled the actions and inactions of the persons making decisions affecting Plaintiff

  or it knew or should have known of these actions and inactions and has failed to take prompt and

  adequate remedial action or took no action at all to prevent the abuses to Plaintiff.

          75.     Furthermore, Defendant has knowingly condoned and ratified the differential

  treatment of Plaintiff as more fully set forth above because it has allowed the differential treatment

  and participated in same.

          76.     Defendant’s known allowance and ratification of these actions and inactions actions

  created, has perpetuated and facilitated an abusive and offensive work environment within the

  meaning of the statutes referenced above.

          77.     In essence, the actions of agents of Defendant, which were each condoned and

  ratified by Defendant, were of a race-based nature and in violation of the statutes referenced above.

          78.     The discrimination complained of herein has affected and continues to affect a term,

  condition, or privilege of Plaintiff's employment with Defendant. The events set forth herein have

  led, at least in part, to adverse actions against Plaintiff.

          79.     Defendant’s conduct and omissions constitutes intentional discrimination and

  unlawful employment practices based upon race in violation of the statutes referenced above.

          80.     As a direct and proximate result of Defendant’s conduct described above, Plaintiff

  has suffered emotional distress, mental pain and suffering, past and future pecuniary losses,



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  inconvenience, mental anguish, loss of enjoyment of life and other non-pecuniary losses, along

  with lost back and front pay, interest on pay, bonuses, and other benefits. These damages have

  occurred in the past, are permanent and continuing. Plaintiff is entitled to injunctive/equitable

  relief.

                                            COUNT III
                                           RETALIATION

            81.   Paragraphs 1 through 62 are re-alleged incorporated herein by reference.

            82.   This is an action against Defendant for unlawful retaliation after Plaintiff reported

  unlawful employment practices adversely affecting her under 42 U.S.C. § 2000e et seq. and 42

  U.S.C. § 1981a.

            83.   Defendant is an employer as that term is used under the applicable statutes

  referenced above.

            84.   The foregoing unlawful actions by Defendant were purposeful.

            85.   Plaintiff voiced opposition to unlawful employment practices during her

  employment with Defendant and has been the victim of retaliation thereafter.

            86.   The events set forth herein have led, at least in part, to adverse actions against

  Plaintiff.

            87.   Plaintiff is a member of a protected class because she reported unlawful

  employment practices and has been the victim of retaliation thereafter. There is thus a causal

  connection between the reporting of the unlawful employment practices and the adverse

  employment action taken thereafter.

            88.   As a direct and proximate result of the foregoing unlawful acts and omissions,

  Plaintiff has suffered mental anguish, emotional distress, expense, loss of benefits, embarrassment,

  humiliation, damage to reputation, illness, lost wages, lost opportunities, loss of capacity for the

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  enjoyment of life, and other tangible and intangible damages. These damages are continuing and

  are permanent. Plaintiff is entitled to injunctive/equitable relief.

                                         PRAYER FOR RELIEF

         WHEREFORE, Plaintiff demands judgment against Defendant for the following:

                 (a)     that process issue and this Court take jurisdiction over this case;

                 (b)     that this Court grant equitable relief against Defendant under the applicable

                         counts set forth above, mandating Defendant’s obedience to the laws

                         enumerated herein and providing other equitable relief to Plaintiff;

                 (c)     enter judgment against Defendant and for Plaintiff awarding all legally-

                         available general and compensatory damages and economic loss to Plaintiff

                         from Defendant for Defendant’s violations of law enumerated herein;

                 (d)     enter judgment against Defendant and for Plaintiff permanently enjoining

                         Defendant from future violations of law enumerated herein;

                 (e)     enter judgment against Defendant and for Plaintiff awarding Plaintiff

                         attorney's fees and costs;

                 (f)     award Plaintiff interest where appropriate; and

                 (g)     grant such other further relief as being just and proper under the

                         circumstances, including but not limited to reinstatement.

                                 DEMAND FOR TRIAL BY JURY

         Plaintiff hereby demands a trial by jury on all issues herein that are so triable.




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                                                      Respectfully submitted,


                                                      /s/ Marie A. Mattox
                                                      Marie A. Mattox [FBN 0739685]
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                                                      michelle@mattoxlaw.com
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                                                      ATTORNEYS FOR PLAINTIFF

                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and accurate copy of the foregoing has been served on all

  counsel of record by eportal this 11th day of March, 2024.

                                               /s/ Marie A. Mattox
                                               Marie A. Mattox




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                    IN THE CIRCUIT COURT OF THE THIRTEENTH JUDICIAL CIRCUIT,
                            IN AND FOR HILLSBOROUGH COUNTY, FLORIDA

             ERICA BRYANT,

                    Plaintiff,

             v.                                                           CASE NO.: 2024-CA-000448

             BOARD OF TRUSTEES FOR
             THE UNIVERSITY OF SOUTH FLORIDA and
             FLORIDA DEPARTMENT OF EDUCATION,

                   Defendants.
             ____________________________________/


                                 NOTICE OF APPEARANCE OF BRIAN O. FINNERTY
                                   AND DESIGNATION OF EMAIL ADDRESSES

                    Please take notice that Brian O. Finnerty now appears as additional counsel for Plaintiff

             and requests addition to the Florida E-filing Portal and other service lists. The undersigned

             requests that all future communications and correspondence be directed to him.


                    The undersigned designates the following email addresses, pursuant to Florida Rule of

             Judicial Administration 2.516, for service of all documents required to be served in this

             proceeding:


                    Primary E-Mail Addresses: brian.finnerty@mattoxlaw.com

                    Secondary E-Mail Address: linette.williams@mattoxlaw.com

                                                  michelle2@mattoxlaw.com (scheduling)




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                                                         Respectfully submitted,


                                                         /s/ Brian Finnerty
                                                         BRIAN FINNERTY, ESQ.
                                                         Florida Bar No.: 94647
                                                         MARIE A. MATTOX, P.A.
                                                         203 North Gadsden Street
                                                         Tallahassee, Florida 32301
                                                         Telephone: (850) 383-4800
                                                         brian.finnerty@mattoxlaw.com
                                                         linette.williams@mattoxlaw.com
                                                         michelle2@mattoxlaw.com (scheduling)

                                                         ATTORNEYS FOR PLAINTIFF


                                               CERTIFICATE OF SERVICE

                    I HEREBY CERTIFY that a notice of service of the foregoing has been submitted via

             electronic filing through the Florida Courts E-Filing Portal and as a courtesy by electronic mail

             this 12th day of March 2024 to:

             Jadie R. Mims, Esq. [FNB: 1002318]
             F. Damon Kitchen, Esq. [FBN: 861634]
             CONSTANGY, BROOKS, SMITH,
             & PROPHETE, LLP
             200 W. Forsyth St., Ste. 1700
             Jacksonville, Florida 32202
             jmims@contangy.com
             dkitchen@contangy.com


                                                         /s/ Brian Finnerty
                                                         Brian Finnerty, Esq.




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                                                                                  IN THE CIRCUIT COURT OF THE
                                                                                  THIRTEENTH JUDICIAL
                                                                                  CIRCUIT, IN AND FOR
                                                                                  HILLSBOROUGH COUNTY,
                                                                                  FLORIDA
             ERICA BRYANT,

                                 Plaintiff,

             v.                                                                   CASE NO. 2024-CA-000448

             BOARD OF TRUSTEES FOR THE
             UNIVERSITY OF SOUTH FLORIDA1 and
             FLORIDA DEPARTMENT OF EDUCATION,

                                 Defendants.
                                                                              /

                   DEFENDANTS’ JOINT NOTICE OF CANCELLATION OF ZOOM HEARING ON
                      THEIR PENDING MOTIONS TO DISMISS PLAINTIFF’S COMPLAINT

                        Defendants, University of South Florida Board of Trustees and Florida Department of

             Education, by and through their undersigned attorneys, hereby provide notice that the thirty (30)

             minute hearing previously scheduled before the Honorable Paul L. Huey on Monday, April 1,

             2024, at 10:00 a.m. EDT, has been CANCELLED.

                        In accordance with Paragraph No. 12.F.ii. of Admin. Order S-2024-021, since more than

             24 hours remain before the hearing was scheduled to occur, the undersigned will also cancel the

             aforementioned hearing electronically, via the Court’s Judicial Automated Workflow System

             (JAWS).

                        DATED this 18th day of March, 2024.


                                    This space intentionally left blank; signatures and Certificates
                                           of Service and Consultation on following page.



             1
                 Defendant’s proper name in the State of Florida is the University of South Florida Board of Trustees.




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             Respectfully submitted,

              Thompson, Crawford, Brown & Smiley, P.A.           Constangy, Brooks, Smith & Prophete, LLP
              1330 Thomasville Road                              Post Office Box 41099
              Tallahassee, FL 32303                              Jacksonville, Florida 32203
              Telephone:     (850) 386-5777                      Telephone:     (904) 356-8900
              Facsimile:     (850) 386-8507                      Facsimile:     (904) 356-8200

              By: /s/ Thomas R. Thompson                         By: /s/ Jadie Mims
                   Thomas R. Thompson, Esq.                          F. Damon Kitchen, Esq.
                   Florida Bar No. 890596                            Florida Bar No. 861634
                   tom@tcslawfirm.net                                dkitchen@constangy.com
                   Mallory B. Brown, Esq.                            Jadie R. Mims, Esq.
                   Florida Bar No. 124039                            Florida Bar No. 1002318
                   mallory@tcslawfirm.net                            jmims@constangy.com

              Attorneys for Defendant, Florida Department        Attorneys for Defendant, University of
              of Education                                       South Florida Board of Trustees



                                             CERTIFICATE OF SERVICE
                     I HEREBY CERTIFY that on this 18th day of March, 2024, a copy of the foregoing has

             been filed with the Clerk of Court through the Florida E-filing Portal, and furnished via email to

             all counsel of record.

                                                          By: /s/ Jadie Mims
                                                                F. Damon Kitchen, Esq.
                                                                Jadie R. Mims, Esq.

                                                                 Attorneys for Defendant, University of South
                                                                 Florida Board of Trustees


             cc:     For the Record Reporting, Inc.




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